   Case 1:17-cv-00173-BRW-CRH              Document 95       Filed 08/06/18     Page 1 of 76




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTH DAKOTA
                                   WESTERN DIVISION

Energy Transfer Equity, L.P., and Energy          )
Transfer Partners, L.P.,                          )
                                                  )           Case No. 1:17-cv-00173
                         Plaintiffs,              )
                                                  )
                                                  )        FIRST AMENDED COMPLAINT
Greenpeace International (aka “Stichting          )           JURY TRIAL DEMAND
Greenpeace Council”); Greenpeace, Inc.;           )
Greenpeace Fund, Inc.; Banktrack (aka             )
“Stichting Banktrack”); Earth First!; Cody        )
Hall; Krystal Two Bulls; Jessica Reznicek;        )
Ruby Montoya; Charles Brown; and John and         )
Jane Does 1-20,                                   )

                         Defendants.


        Plaintiffs Energy Transfer Equity, L.P., Energy Transfer Partners, L.P. (collectively

“Energy Transfer” or “Plaintiffs”), as and for their amended complaint against Greenpeace

International (aka “Stichting Greenpeace Council”), Greenpeace, Inc. (“GP-Inc.”), Greenpeace

Fund, Inc. (“GP-Fund”) (collectively, the “Greenpeace Defendants”), Earth First!, Cody Hall,

Krystal Two Bull, Ruby Montoya, Jessica Reznicek, Charles Brown, and John and Jane Does 1-

20, allege as follows:

                                   PRELIMINARY STATEMENT

        1.      This action arises from an illegal scheme targeting Energy Transfer and its

project, the Dakota Access Pipeline (“DAPL” or the “Project”) -- a 1,172 mile underground

pipeline -- which extends from the Bakken region of North Dakota to Patoka, Illinois. The

scheme involved a campaign of misinformation that was intended to, and did, incite violence,

property destruction, and criminal sabotage designed to stop the construction and operation of

DAPL.
   Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 2 of 76




       2.       The scheme was perpetrated by a network of putative not-for-profits and rogue

eco-terrorists who have organized around common interests, goals, objectives and stated

purposes, chief among them, the commitment to further an anti-development, no fossil fuel

agenda through anarchist political philosophy and criminal sabotage.

       3.       Between August 2016 and May 2017, thousands of protestors descended upon

North Dakota, in an effort to prevent the construction of the final segment of DAPL. During

that time period hundreds of people were arrested, when protests turned into violent clashes that

placed the lives of construction workers, security personnel, and the local authorities in danger.

       4.       The myth is that these protests were organic, spontaneous and peaceful. The

reality is that the opposition to DAPL was a highly organized and orchestrated scheme

perpetrated by out-of-state protestors who have political interests in the pipeline protest and

hidden agendas vastly different and far removed from the SRST.

       5.       The Enterprise, or perpetrators of the scheme, followed a well-honed playbook

developed by Greenpeace International consisting of four central components: (1) ubiquitous and

aggressive dissemination of false and alarmist claims regarding phony but emotionally charged

hot-button issues to manufacture a sense of crisis; (2) use of the manufactured claims to attract

on-the-ground protestors to rally for the cause, who the Enterprise then trained in property

destruction and criminal sabotage; (3) planting of radical, violent eco-terrorists on the ground

amongst the protestors to incite violent action; and (4) use of the manufactured claims and

ensuing violent and destructive protests to fraudulently induce donations to fund further

racketeering activity.

       6.       With respect to DAPL, the plan proceeded precisely as designed.




                                                 2
   Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 3 of 76




       7.       As the project neared its end point, after two years of construction, Greenpeace

Inc. and Greenpeace Fund (together, “Greenpeace USA”) embarked on a misinformation

campaign designed to generate an international media spectacle based on the false claims that

DAPL would traverse the SRST reservation, desecrate cultural resources, and poison its water

supply. Greenpeace USA worked in concert with a core group of environmental non-

governmental organizations (“ENGOs”) to aggressively disseminate false and sensational claims

about DAPL, each publishing their coordinated claims under its own banner to create an “echo

chamber” cloaking their misrepresentations with a veneer of legitimacy.

       8.       Led by Greenpeace, the Enterprise used these lies to recruit protesters and

dispense monies which directly supported the proliferation of protest camps. The camps began

with a handful of Native Americans gathered on tribal land, but evolved to several camps, which

collected hundreds of thousands of dollars from GoFundMe websites and attracted thousands of

protestors from around the country to create semi-permanent groups of men, women, and

children in the surrounding areas between August 2016 and May 2017. Greenpeace and the

other ENGOs understood and intended that a certain percentage of such protestors could be

coopted to engage in acts of violence and eco-terrorism. The protestors they incited were trained

by Greenpeace USA on-the-ground in North Dakota in direct action, blockade techniques, and

criminal sabotage.

       9.       Moreover, the Greenpeace Defendants used these materially false and misleading

publications and claims to fraudulently induce donations used, in part, to fund illegal activities

against DAPL and other Energy Transfer infrastructure projects, including the provision of funds

for travel to protests, materials for attacks, and legal representation and bail when the protestors,




                                                  3
   Case 1:17-cv-00173-BRW-CRH              Document 95       Filed 08/06/18      Page 4 of 76




who intentionally perpetrated criminal acts at the behest of Greenpeace Defendants, were

arrested.

       10.      At the same time, Earth First!, an associated-in-fact group of individuals,

comprised of persons known and unknown, including Grayson Bauer Flory and Earth First!

Journal which published manuals used to teach the racketeering activity engaged in, provided

$500,000 of seed money to a core group of violent eco-terrorists and training in property

destruction, who then formed what became known as Red Warrior Camp. The funding and

training of eco-terrorists to engage in racketeering activity was approved and directed by John

and Jane Does, members of the organizational structure which Earth First! publicly

acknowledges exists, but the members of which have never been publicly disclosed.

       11.      Greenpeace, working in concert with John and Jane Does operating as Earth

First!, organized donation drives to fund, feed, and house members of Red Warrior Camp, and

held trainings in its warehouses and at protest camps in North Dakota to train protesters in

property destruction, monkeywrenching, and tactics to get arrested -- all of which were

intentionally designed to delay construction and operation of DAPL. Greenpeace USA

employees participated in the violent and destructive protests, a practice that is condoned by

Greenpeace USA which provided its employees with unlimited paid time to travel to DAPL

camps in North Dakota.

       12.      Likewise, John and Jane Does, operating as members of Earth First!, trained

Defendants Ruby Montoya, Jessica Reznicek, and other members of Mississippi Stand, a radical

eco-terrorist group, on the ground near DAPL construction sites in Iowa. These Earth First!

associates trained Montoya and Reznicek in monkeywrenching and other eco-terrorist techniques

to torch holes and otherwise destroy the pipeline and construction equipment, including



                                                 4
   Case 1:17-cv-00173-BRW-CRH               Document 95         Filed 08/06/18      Page 5 of 76




acetylene cutting torch tactic. These tactics are set forth in Earth First! Direct Action Manual

(“Direct Action Manual”) and Ecodefense: A Field Guide to Monkeywrenching (the “Ecodefense

Guide”), authored by associates of Earth First! and published by Grayson Bauer Flory under the

auspices of Earth First! Journal. As the associates of Earth First! intended, Montoya and

Reznicek used the acetylene cutting torch tactic to destroy several segments of DAPL, resulting

in millions of dollars in property damage and significant delay of construction activities.

        13.     Greenpeace, John and Jane Does operating as members of Earth First!, and

 others advertised Red Warrior Camp’s and Mississippi Stand’s violent activities to secure

 additional funding and recruit additional protesters, and used other illegal means, including

 selling drugs, purchased with donated money, to other protestors at the camps to finance their

 operations, line their own pockets, and fund the eco-terrorists they incited to North Dakota.

       14.      The violence at the camps escalated in tandem with the Enterprise’s

misinformation campaign and the establishment of Red Warrior Camp and Mississippi Stand.

The Enterprise maliciously disseminated misinformation and prompted on-site violence not

because it was in the SRST’s interest, but rather to further its anti-fossil fuel and anarchist

agendas. Ultimately, the SRST evicted Red Warrior Camp from the protest site in November

2016 because Red Warrior Camp was advancing the Enterprise’s sensational and violent agenda

irrespective and contrary to the interests of the Tribe that they claimed to be supporting.

       15.      The Enterprise, through Greenpeace and John and Jane Does operating as

associates of Earth First!, knowingly funded, controlled, directed, and incited acts of terrorism in

violation of the U.S. Patriot Act, including attempted and actual destruction of an energy facility

and equipment and arson on government property and aimed at interstate commerce. These acts

of physical sabotage of the pipeline were serious terrorist threats that -- had oil been flowing in



                                                  5
   Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 6 of 76




the pipeline when the attacks were perpetrated -- would have caused the pipeline to explode,

endangering human lives and resulting in environmental disaster. The attacks further undermine

the authenticity of the Enterprise’s “environmental” cause.

       16.      Ultimately, the pipeline was completed and is operational. The Enterprise’s

campaign against Energy Transfer, however, is ongoing. The Greenpeace Defendants and John

and Jane Does operating as Earth First! continue to target Energy Transfer’s infrastructure

projects with patterns of criminal activity, including most recently, the Bayou Bridge pipeline.

In furtherance of this objective, John and Jane Does, members of the organizational structure of

Earth First, held an Organizers Conference earlier this year to plot direct action and criminal

sabotage against the Bayou Bridge. Earth First!’s activities are coordinated closely with

Greenpeace USA, which has escalated interference with Energy Transfer’s infrastructure

projects to its “priority project of 2018” and has recruited and hired Defendant Charles Brown

for the express purpose of organizing and executing racketeering activity designed to interfere

with Energy Transfer’s infrastructure projects. Under Defendant Brown’s direction, Greenpeace

USA sent agents to Louisiana to train on-the ground protesters in similar militant and illegal

actions employed against DAPL, and fund direct actions against the Bayou Bridge pipeline.

       17.      The coordinated attack against Energy Transfer’s infrastructure projects has

inflicted enormous damages on Energy Transfer’s business operations. The company has

suffered direct monetary damages including costs associated with damaged equipment,

construction sites, and the pipeline itself; increased security costs; and costs associated with the

delays in construction of DAPL, all of which were the direct, and intended, consequence that

naturally flowed from the the Enterprise’s predicate acts. The campaign has also resulted in

damage to Plaintiffs’ reputation and access to capital markets, including impaired access to



                                                  6
   Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18       Page 7 of 76




financing and increased costs of capital, impairing the company’s ability to finance future

infrastructure projects at economical rates. Finally, Plaintiffs incurred substantial expenditures

to mitigate the direct impact of the slander campaign and other violent protests.

       18.      These damages were intentionally and maliciously inflicted based upon a

relentless campaign of its brand and illegal predicate acts. Defendants must be held accountable

for these damages, and for substantial punitive damages to deter this illegal means of doing

business.

                                  JURISDICTION AND VENUE

       19.      This action arises under The Racketeer Influenced and Corrupt Organizations

Act (“RICO”), 18 U.S.C. § 1961-1968, and state statutes and common law.

       20.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, and has

supplemental jurisdiction over the pendent state law claims under 28 U.S.C. § 1367.

       21.      This Court has personal jurisdiction over the defendants pursuant to 18 U.S.C.

§ 1965 because each defendant resides in the United States, transacts business on a systematic

and continuous basis in the United States, and/or has engaged in tortious misconduct here in

violation of United States law.

       22.      This Court also has personal jurisdiction pursuant to North Dakota’s long-arm

statute, N.D.R. Civ. P. 4, because each defendant directly and through agents transacts business

within the state; committed tortious acts and omissions within the state; committed tortious

injury in the state caused by an act or omission outside the state; regularly does business,

engages in a persistent course of conduct, and derives substantial revenue within the state; or is

registered to do business in and has consented to personal jurisdiction in this state.




                                                  7
   Case 1:17-cv-00173-BRW-CRH                Document 95        Filed 08/06/18     Page 8 of 76




        23.      Venue for this action is proper pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to Plaintiffs’ claims occurred in this forum and

defendants are subject to personal jurisdiction in this judicial district.

                                           THE PARTIES

        24.      Plaintiff Energy Transfer Equity, L.P., is a master limited partnership organized

under the laws of Delaware and headquartered in Dallas, Texas. Energy Transfer Equity is the

parent company of the other Plaintiff entities herein. Together with its subsidiaries, Energy

Transfer owns and operates a diverse portfolio of natural gas midstream, intrastate, and interstate

transportation and storage assets, as well as crude oil, natural gas liquids, and refined product

transportation and terminalling assets. Energy Transfer owns the largest liquid petroleum and

natural gas pipeline system by volume in the United States, spanning nearly 72,000 miles,

including a 38.25% interest in the Dakota Access Pipeline (“DAPL”).

        25.      Plaintiff Energy Transfer Partners, L.P. (“Energy Transfer Partners”) is a master

limited partnership organized under the laws of Delaware with its headquarters and principal

place of business in Dallas, Texas. Energy Transfer Partners is a wholly owned subsidiary of

Energy Transfer Equity. It holds a 51% interest in Dakota Access, LLC (“Dakota Access”), a

limited liability company organized under the laws of Delaware with its headquarters and

principal place of business in Dallas, Texas, which owns and operates DAPL.

        26.      Defendant Greenpeace International, aka Stichting Greenpeace Council (“GP-

International” or “GPI”), is a putative Dutch not-for-profit foundation based in Amsterdam, the

Netherlands.




                                                   8
   Case 1:17-cv-00173-BRW-CRH              Document 95       Filed 08/06/18      Page 9 of 76




       27.      Defendant Greenpeace, Inc. (“GP-Inc.”) is a putative nonprofit corporation

organized under the laws of California and headquartered in Washington, D.C. and is licensed to

do business in many states throughout the United States, including North Dakota.

       28.      Defendant Greenpeace Fund, Inc. (“GP-Fund”) is a putative nonprofit charitable

corporation organized under the laws of California and headquartered in Washington, D.C. and is

licensed to do business in many states throughout the United States, including North Dakota.

       29.      Defendant Earth First! is an associated-in-fact group of individuals comprised of

persons known and unknown, including Grayson Bauer Flory and his publication Earth First!

Journal, which publishes manuals used to teach the racketeering activity engaged in. John and

Jane Does, holding themselves out as associates of Earth First! conducted those activities,

provided training in those activities, and provided $500,000 in seed money to fund those

activities. All of these activities were approved and directed by John and Jane Does, members of

the organizational structure of Earth First! which Earth First! publicly acknowledges exists, but

the members of which have never been publicly disclosed.

        30.     Defendant Cody Hall is a resident of South Dakota. Hall served as a leader,

organizer, and media spokesperson for Red Warrior Camp, an encampment of militant eco-

terrorists formed in North Dakota adjacent to DAPL construction sites, and recruited, funded

and trained by Greenpeace USA and Earth First! to lead and coordinate violent attacks against

DAPL.

        31.     Defendant Krystal Two Bulls is a resident of Montana. Two Bulls was an

organizer and media coordinator for Red Warrior Camp.

        32.     Defendant Jessica Reznicek is a resident of Iowa. Reznicek is the founder of

Mississippi Stand.



                                                9
  Case 1:17-cv-00173-BRW-CRH             Document 95          Filed 08/06/18   Page 10 of 76




        33.     Defendant Ruby Montoya is a resident of Iowa. Montoya was a press

representative for Mississippi Stand.

        34.     Defendant Charles Brown is a resident of Virginia. Brown is a pipeline

campaigner for Greenpeace USA focused on Greenpeace’s “priority project of 2018” --

interfering with Energy Transfer’s infrastructure projects.

        35.     John and Jane Does 1 through 20, whose identities are presently unknown to

Plaintiffs, including men and women operating and holding themselves out as members of Earth

First!, unknown members and affiliates of Red Warrior Camp and other participants in the

network of environmental groups targeting Energy Transfer and other legitimate organizations,

as well as co-conspirators and/or aiders and abettors of the named Defendants in the scheme,

enterprise, and misconduct alleged in this complaint, including, among others, cyber-

hacktivists, environmental activists, and certain foundations directing funds to the Defendants.

                                  STATEMENT OF FACTS

       36.      Since no later than July 2016, Energy Transfer has been the target of a malicious

and hostile campaign arising from its development, construction, and operation of DAPL -- a

1,172 mile underground pipeline -- which extends from the Bakken region of North Dakota to

Patoka, Illinois, passing through South Dakota and Iowa, the specifics of which are as follows:

       A.      The Criminal Enterprise

       37.      The campaign against Energy Transfer was conducted by an illegal Enterprise

comprised of various legally distinct but associated-in-fact environmental organizations,

individuals, and others who worked in concert with one another for the purpose of carrying out

the pattern of racketeering activity directed at stopping DAPL and funding themselves and other

enterprise members executing the predicate acts. The Enterprise was comprised of the following

members:

                                               10
    Case 1:17-cv-00173-BRW-CRH                  Document 95          Filed 08/06/18         Page 11 of 76




                  1. Red Warrior Camp, Cody Hall, and Krystal Two Bull

        38.       Red Warrior Camp,1 founded by Defendant Cody Hall and represented by media

liaison Krystal Two Bull, falsely portrays itself as a coalition of “water protectors” representing

27 tribal nations dedicated to direct action to interfere with the construction of DAPL. In truth,

Red Warrior Camp is a front for eco-terrorists recruited, directed, and funded by Greenpeace

USA and individuals operating as Earth First!. Using seed money and training from Earth First!,

through John and Jane Does operating under that name, and funds and supplies from Greenpeace

USA, beginning in August 2016 and continuing until they were evicted by order of the SRST

Tribal council in November 2016, Red Warrior Camp infiltrated and radicalized the DAPL

protest movement by coopting a percentage of otherwise peaceful protestors drawn to territory

adjacent to the DAPL crossing at Lake Oahe. Red Warrior Camp successfully recruited,

coopted, and directed protestors to employ militant, illegal predicate acts to disrupt DAPL

construction during that time period and other protesters to engage in various activities designed

to distract from, and provide cover for, these racketeering activities.

        39.       Red Warrior Camp widely disseminated recruitment and fundraising videos of

militant and illegal acts through its official media team, the Women Warriors Media

Cooperative. The videos encourage the public to travel to protest camps, where Greenpeace

USA, individuals operating as Earth First!, and existing Red Warrior Camp members trained

new members on how to conduct illegal attacks on DAPL construction sites and

personnel. Members of Red Warrior Camp were trained, in part, by Greenpeace USA, including

in the coordination of large-scale attacks on DAPL construction sites that culminated with


1
        At this time, Plaintiffs do not believe that the SRST members named in the August 15, 2016 complaint in
Dakota Access, LLC v. Archambault, Case No. 16-CV-00296-DLH-CSM, in the District of North Dakota, are
members of Red Warrior Camp, since those individuals were members of SRST which subsequently ousted Red
Warrior Camp.

                                                       11
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 12 of 76




bombing and arson of federal and state lands, property destruction, and arrests. Moreover,

members of Red Warrior Camp buried illegal weapons and munitions, illegally trafficked over

state lines, near the river bed to use in clashes with law enforcement.

       40.      To raise funds, Red Warrior Camp recorded attacks, announced arrests, and set

up funds for bail and legal representation. Red Warrior Camp also established GoFundMe and

other crowdfunding accounts and Amazon wish lists to provide financial support to others who

wanted to travel to North Dakota. A critical source of funding and supplies for Red Warrior

Camp’s operations were supply drives held by Greenpeace USA to fund, feed, and house

members of Red Warrior Camp at its Lake Oahe campsite. The funds and supplies generated by

these drives were directed to Defendant Hall and enabled Red Warrior Camp to carry out further

violent and destructive attacks. Red Warrior Camp also engaged in an illegal drug trade by using

donation money to buy drugs out of state and sell them throughout the camps in the area,

securing enormous profits.

       41.      Red Warrior Camp’s illegal tactics was often associated with “calls to action”

publicized by Krystal Two Bulls, through Greenpeace USA, among others, and which was

designed to enlist others to engage in activities that would distract from, and provide cover for,

their illegal activities. Their illegal conduct eventually resulted in Red Warrior Camp’s ouster

from the camps by unanimous vote of the SRST Tribal council. However, rather than leave as

asked, Red Warrior Camp continued to engage in and incite violent and terrorist actions

definitively demonstrating that their agenda had nothing to do with support and protecting SRST.

       42.      In executing these acts of terrorism, Red Warrior Camp adopted intense security

protocols which prevented information about their planned protests and the identity of their

members from disclosure to law enforcement and Energy Transfer’s security personnel. Even



                                                 12
  Case 1:17-cv-00173-BRW-CRH               Document 95           Filed 08/06/18   Page 13 of 76




today, members of the Red Warrior Camp fiercely guard their identities, to avoid accountability

for their acts of terrorism. They recently pressured a documentary film maker not to distribute a

film including footage of their conduct between August and November 2016 so that their

identities would remain a secret.

                2. Mississippi Stand, Jessica Reznicek, and Ruby Montoya

       43.      Mississippi Stand is a radical eco-terrorist group led by Jessica Reznicek near

DAPL construction sites in Iowa. Marketing itself as the “shutdown caravan,” Mississippi Stand

stated that its purpose was to “lock down” DAPL construction whenever, wherever, and by

whatever means possible.

       44.      In September and October 2016, Defendants John and Jane Does, operating as

members of Earth First!, held in-person direct action trainings for Mississippi Stand in Iowa to

execute the techniques laid out in Earth First Journal’s Direct Action Manual and Ecodefense

Guides. Following this training, members of Mississippi Stand unlawfully “locked down”

DAPL construction in Iowa on an almost daily basis, using “steel or sleeping dragons” to attach

themselves to construction sites and equipment. Moreover, based on Earth First!’s Direct Action

Manual and Ecodefense Guide and training, Reznicek and Montoya perpetrated illegal terrorist

attacks against DAPL, burning heavy construction equipment and using oxy-acetylene cutting

torches to cut holes into segments of the interstate pipeline.

       45.      Its “lockdowns” and other criminal activities were frequently recorded on video

and disseminated through its website and social media, and were featured on Earth First!

Journal’s website. Mississippi Stand also established GoFundMe accounts and other

crowdfunding accounts with materially false and misleading claims about DAPL, which

Mississippi Stand intended to fraudulently induce financial support from others. Mississippi

Stand has publicly endorsed Red Warrior Camp’s illegal tactics, stating that “it fights the black
                                                 13
  Case 1:17-cv-00173-BRW-CRH                 Document 95     Filed 08/06/18     Page 14 of 76




snake in solidarity with Red Warrior Camp.” Additionally, it has prominently featured

Reznicek’s and Montoya’s statements on its homepage and continues to openly advocate for

property destruction and terrorism, while fundraising for legal support for such action.

                3. Greenpeace International

       46.      Greenpeace International (“GP-International” or “GPI”) holds the Greenpeace

trademark and serves as the international coordinating body for a network of more than twenty-

six legally distinct national and regional associations operating under the common Greenpeace

name, including defendants Greenpeace Inc. and Greenpeace Fund.

       47.      Major public campaigns by associated entities operating under the Greenpeace

name must be presented to, and approved by, GPI, whose leadership is comprised of “families

council” of all of its associated members.

       48.      The various Greenpeace associations operating under GPI have a history of

engaging in property destruction and criminal sabotage in pursuit of its manufactured causes.

For example, in a 2011 campaign against genetically modified organisms, Greenpeace activists --

under the direction and control of GP-International -- broke into an experimental farm in

Australia and destroyed a plot of genetically-modified wheat engineered to benefit diabetics,

causing $400,000 in damage and setting back the research by a year. Similarly, in a December

2014 campaign to influence a major international climate change conference in Peru, Greenpeace

activists defaced a several thousand-year-old UNESCO Heritage site miles away. That site,

called the Nazca Lines, is a precious moon-like landscape that has preserved large, extremely

fragile geoglyphic figures ancient peoples formed over 2,500 years. Walking in the Nazca Lines

is illegal because doing so necessarily and permanently alters the landscape and, thus, the

geoglyphics. Greenpeace activists disregarded this prohibition and substantiated risk of

irreparable environmental harm to climb and walk on this site, to unfurl a large banner, causing
                                                 14
    Case 1:17-cv-00173-BRW-CRH             Document 95        Filed 08/06/18      Page 15 of 76




substantial and irreparable harm. Although Greenpeace purported to apologize for this damage,

it refused to identify the members responsible for the illegal destruction and to this day is

harboring and protecting those eco-terrorists from justice.

       49.      Most recently, the association of Greenpeace entities, under the direction and

approval of GPI, has targeted Exxon with a fraudulent and illegal campaign, which in

Greenpeace’s own words, is intended to “delegitimize [Exxon],” “force officials to disassociate

themselves from Exxon,” and “drive divestment from Exxon.” Pursuant to the operational

memorandum for campaign, the campaign, would be executed by, among other things, use of

fraudulent lawsuits to obtain internal documents from Exxon through discovery.2

       50.      GP-International operated, managed, and controlled the Enterprise’s campaign

against Energy Transfer by, among other things, authorizing, approving, and underwriting the

campaign executed under the Greenpeace banner. GP-International also provided grants and

disbursements back to GP-Fund and GP-Inc. to support the international campaign against

Energy Transfer and DAPL, and disseminated the false, misleading, and manufactured claims

about Energy Transfer and DAPL through publication on its website and direct communications

with Energy Transfer’s critical market constituents for the purpose of fraudulently inducing

donations to fund these activities and harm Energy Transfer.

       51.      GP-International also recruited other international Greenpeace organizations

operating under its direction and control -- including GP-Switzerland, GP-Japan, and GP-

Netherlands -- to participate in the campaign against Energy Transfer. At GP-International’s

direction, these international Greenpeace associations aggressively disseminated the false claims




2
       https://freebeacon.com/issues/memo-shows-secret-coordination-effort-exxonmobil-
climate-activists-rockefeller-fund/
                                                 15
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18     Page 16 of 76




that DAPL would desecrate historical and cultural resources and poison SRST’s water supply to

Energy Transfer’s critical market constituents in Europe and Asia, generating international media

attention for the campaign and fraudulently inducing contributions used to fund the illegal acts.

                4. Greenpeace USA and Defendant Charles Brown

       52.      Greenpeace USA is comprised of defendants Greenpeace Fund (“GP-Fund”) and

Greenpeace Inc. (“GP-Inc”).

       53.      Defendant GP-Fund is a section 501(c)(3) non-profit foundation which falsely

purports to be exclusively operated for a charitable purpose. GP-Fund authorized, underwrote,

and facilitated GP-Inc.’s campaign against Energy Transfer, and, along with GPI, was actively

involved in the operation, control, and planning of the campaign with GP-Inc. and other

enterprise members.

       54.      Defendant GP-Inc. is a nonprofit corporation organized pursuant to the laws of

California and headquartered in Washington, D.C. GP-Inc. receives substantial support from

both GP-International and GP-Fund, including the use of the Greenpeace name and the funding

necessary to pay its substantial operating expenses and salaries and fund its execution of the

disinformation campaign.

       55.      Although GP-Fund and GP-Inc. are separate and distinct legal entities (as

required by their respective tax statuses), GP-Fund and GP-Inc. associate in fact by publicly

identifying themselves and doing business as “Greenpeace USA.” Greenpeace USA controls all

Greenpeace operations in the United States and “pursuant to a ‘protocol’ between [ ] all other

Greenpeace entities worldwide, including Greenpeace International, no Greenpeace operations

are to occur in the United States without GP-Inc.’s and GP-Fund’s consent.” GP-Fund and GP-

Inc. share an executive director, Annie Leonard, who directs and controls Greenpeace USA’s

operations.
                                                16
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 17 of 76




       56.      Employees of GP-Fund and GP-Inc., respectively, are held out publicly as

campaigners for Greenpeace USA. For example, Annie Leonard, the director of GP-Fund and

GP-Inc. is described on Greenpeace’s website as the Executive Director of Greenpeace USA.

       57.      Greenpeace USA directed, controlled, and operated the Enterprise’s campaign

against Energy Transfer and DAPL by coordinating closely, supporting and funding the illegal

direct against taken against DAPL and manufacturing and ubiquitously disseminating sensational

and materially false propaganda designed to radicalize and incite activists with sincerely held

environmental beliefs to North Dakota which provides funds, cover, and direct support for these

illegal activities. While Greenpeace represented that these claims were based on “facts,”

“science” and “research,” the Greenpeace Defendants did not employ or consult any scientists,

environmentalists, engineers, or other industry experts in developing the campaign’s narrative.

Greenpeace disseminated these false claims on Greenpeace USA’s website and in direct

communications with Plaintiffs’ critical market constituents. A full recitation of the false and

misleading claims about Energy Transfer and DAPL manufactured and disseminated by

Greenpeace USA are set forth in Appendix A. Greenpeace USA used these materially false and

misleading statements to fraudulently induce donations used, in part, to fund illegal activities

against DAPL and other Energy Transfer infrastructure projects.

       58.      In manufacturing and disseminating this false narrative, Greenpeace coordinated

closely with a network of other putative legitimate environmental groups, including RAN, Sierra

Club, Bold Alliance, and 350.org. These organizations disseminated the same false and phony

claims in tandem with Greenpeace USA to create an “echo chamber” and lend putative

legitimacy to the unsupported assertions that DAPL would cause environmental and cultural

harm. A full recitation of the false and misleading claims about Energy Transfer and DAPL



                                                 17
  Case 1:17-cv-00173-BRW-CRH                Document 95        Filed 08/06/18       Page 18 of 76




disseminated by these Enterprise members in coordination with Greenpeace are set forth in

Appendix B.

       59.       Once activists were recruited to North Dakota, Greenpeace USA trained

thousands of protestors to engage in direct actions and criminal sabotage directed at Energy

Transfer construction equipment and the pipeline itself. Beginning no later than August 2016,

Greenpeace USA direct action trainers organized and led training sessions at the camps in North

Dakota where they trained protesters in the techniques set forth in Earth First! Direct Action

Manual and Ecodefense Guide to unlawfully stop DAPL construction.

       60.       Greenpeace USA also coordinated closely with Defendant John and Jane Does,

Earth First! representatives, to plant radical eco-terrorists at the camp sites to radicalize the

protest movement and coordinate large scale attacks and sow chaos. Greenpeace USA held

drives to raise funds and supplies for Red Warrior Camp’s operations between September 12 and

19, 2016, and organized trainings on-the-ground in North Dakota to train members of Red

Warrior Camp in tactics designed to unlawfully interfere with construction of DAPL.

       61.       Greenpeace USA employees regularly participated in the direct actions and other

criminal activities executed by radical eco-terrorists, a practice which is widely known to and

condoned by Greenpeace. In fact, Greenpeace USA provided its employees with unlimited paid

personal days, beyond their stated policy limits, so long as the employees are engaged in direct

action campaigns.

       62.       Greenpeace USA’s fraudulent and illegal scheme against Energy Transfer and its

infrastructure projects is ongoing. In 2018, Greenpeace USA recruited and hired Charles Brown

for the sole purpose of illegally interfering with construction and operation of Energy Transfer’s

infrastructure projects. Under Defendant Brown’s direction and control, Defendant Brown and



                                                  18
  Case 1:17-cv-00173-BRW-CRH                Document 95        Filed 08/06/18       Page 19 of 76




other employees and agents of Greenpeace USA traveled to Louisiana to train on-the-ground

protesters, incite, and fund direct actions against the Bayou Bridge Pipeline.

                5. Earth First!

       63.      Earth First! is an associated-in-fact group of individuals comprised of persons

known and unknown, that funds, trains and engages in property destruction and other illegal

activity. The association-in-fact includes Grayson Bauer Flory and his publication Earth First!

Journal, which publishes manuals used to teach the racketeering activity engaged in, and John

and Jane Does, holding themselves out as associates of Earth First! who conducted those

activities, provided training in those activities, and funded those activities. All of this was

approved and directed by John and Jane Does, members of the organizational structure which

Earth First! publicly acknowledges exists, but the members of which have never been publicly

disclosed.

       64.      Founded in 1980 by Mike Roselle and Dave Foreman, the organization’s stated

purpose is to further its anti-development agenda through anarchist political philosophy, property

destruction, and criminal sabotage, which it calls “monkeywrenching” or “ecotage.”

       65.      Earth First! has deep ties to Greenpeace, which Earth First!’s founder Roselle

formally joined in 1986. At Greenpeace, Roselle employed Earth First!’s militant tactics to

organize Greenpeace’s first “action teams” and trained and prepared these teams to execute

unlawful acts. As a result of his role in implementing these tactics, Roselle was subsequently

appointed to Greenpeace’s Board of Directors. The two organizations have a history and

practice of coordinating closely on campaigns and together have executed dozens of joint

environmental actions.

       66.      While Earth First! self-servingly characterizes itself as a “philosophy,” it

possesses all the indicia of a legal entity: it has members, leaders, and decision-making process;
                                                  19
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18       Page 20 of 76




solicits funds; and has commenced three separate legal actions. John and Jane Does, operating

as leaders of Earth First!, hold annual leadership conferences, known as “Organizers

Conferences,” where they set strategic and tactical goals for the year, fundraise to achieve those

goals, and use those funds to, among other things, fund direct actions throughout the year.

       67.      John and Jane Does operating as Earth First! directed, controlled, and operated

the Enterprise’s campaign against Energy Transfer and DAPL by providing $500,000 in seed

money to a group of eco-terrorists – who became known as Red Warrior Camp -- to establish an

encampment near Lake Oahe in North Dakota. Representatives of Earth First!, along with the

Greenpeace Defendants, trained members of Red Warrior Camp in tactics to unlawfully interfere

with construction of DAPL and criminal sabotage of DAPL itself.

       68.      Moreover, John and Jane Does operating as Earth First! recruited and incited

radical eco-terrorists to form Mississippi Stand, an encampment near the DAPL construction site

in Iowa to likewise act to illegally “lock down” construction of DAPL whenever, wherever, and

however possible. Throughout September and October 2017, John and Jane Does operating as

Earth First! organized and led direct action training sessions for members of Mississippi Stand in

in Lee County, Iowa, where they trained protesters to execute attacks on Energy Transfer

personnel and equipment using the tactics set forth in Earth First!’s Direct Action Manual and

Ecodefense Guide. Members of Mississippi Stand subsequently employed these same tactics on

November 8, 2016, March 2017, and May 2017, to cut holes in DAPL and set fire to DAPL

construction equipment, resulting in millions of dollars of damage to Energy Transfer.

       69.      Earth First! Journal, the publication arm of Earth First!, raises funds the

organization uses for its criminal activities through the Earth First! Direct Action Fund, which




                                                20
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 21 of 76




“assist[ed] in planning, coordinating, and funding the frontline activists” who engage in property

destruction and monkeywrenching.

       70.        Earth First! Journal and Flory also controlled and directed the Enterprise’s

campaign against Energy Transfer through the publication and distribution of “action resources”

for Earth First! members, including the Earth First! Direct Action Manual and Ecodefense

Guide. Proceeds from sales of these publications fund further direct actions.

       71.        The Direct Action Manual is a playbook for unlawful interference with

infrastructure development. A chapter titled “Ground Blockades” describes a number of

techniques to “lock down” construction. These techniques include using U-locks, steel cables,

case-hardened or cobalt chains to attach to other people or construction equipment. The manual

also includes instructions and diagrams for more “heavy duty” lock down tools, such as

“lockboxes,” which are steel pipes designed for protesters to insert their arms and connect their

wrists to a concealed metal pins attached to the inside of the pipe. This prevents law

enforcement from easily cutting U-locks or other less heavy duty lock down devices concealed

inside the steel pipe, enabling protesters to further delay construction. An even more heavy duty

lockbox is a “super box” or “sleeping dragon,” which is a lockbox reinforced by a sheath of

concrete and coiled bailing wire, and takes hours for law enforcement to cut through (and thus

resulting in more lost construction time). The manual also provides instructions on a “very

difficult to dismantle” lockbox using 55 gallon drum barrels fitted with lockboxes and filled with

solid concrete.

       72.        In addition to the Direct Action Manual, Earth First! Journal, through Flory,

publishes the Ecodefense Guide, Earth First!’s playbook for “monkeywrenching,” i.e. property

destruction and criminal sabotage. A chapter titled “Vehicles and Heavy Equipment” includes



                                                 21
  Case 1:17-cv-00173-BRW-CRH                Document 95         Filed 08/06/18      Page 22 of 76




detailed instructions and illustrations of tools, parts, and steps for various methods of disabling

heavy construction equipment, a “classic act of monkeywrenching.” These methods include:

pouring sand in the crankcase; jamming door and ignition locks with wood, cement, or silicone

rubber sealant; pouring water, dirt, sand, or other abrasives into an oil filter hole; slashing tire

sidewalls; smashing fuel pumps, water pumps, valve covers, or other parts; pouring water or dirt

into air intakes; putting battery acid or corrosives or a box of quick rice in the radiator; pouring

gasoline or other fuel into the fuel reservoir; and using bolt cutters on various cables.

        73.      In addition to these methods of sabotage, the Ecodefense Guide contains a

primer on “burning machinery,” which has the advantage of “utterly destroy[ing] the bulldozer,

yarder or whatever.” To destroy heavy machinery by arson, the manual recommends soaking

cotton rags in diesel fuel and stuffing the rags “in the engine if it is accessible, under exposed

wiring, hoses, and gauges, in treads or around tires, and in the cab under the dash.” The primer

also provides various methods for delayed ignition so as to leave time to escape before the arson

is discovered.

        74.      Ecodefense also instructs on sabotage by cutting torch. An alternative to

explosives, the cutting torch is able to cut through steel infrastructure (such as a pipeline) and is

“the optimum tool for converting an expensive machine into a pile of scrap safely, quickly, and

quietly.” The manual recommends the use of an oxy-acetylene cutting torch, because an

acetylene torch, which can also be used for welding, looks less suspicious in the field.

        75.      John and Jane Does operating as members of Earth First! disseminated these

manuals on property destruction to protesters at DAPL construction sites in North Dakota and

Iowa. Earth First! representatives also worked with Greenpeace USA, members of Red Warrior

Camp, and Mississippi Stand to train thousands of protestors on the ground, and funded and



                                                  22
  Case 1:17-cv-00173-BRW-CRH                Document 95         Filed 08/06/18      Page 23 of 76




provided supplies and manuals to the camps’ most violent constituents to ensure that these

groups orchestrated, directed, and engaged in violence, sabotage, and property destruction.

        76.      The Enterprise achieved its intended result. Red Warrior Camp led numerous

attacks involving arson and bombing of Energy Transfer’s personnel and property. Moreover,

the “acetylene cutting torch” tactics detailed in Ecodefense was employed by Earth First!-trained

Mississippi Stand members Jessica Reznicek and Ruby Montoya to burn several segments of the

pipeline, resulting in millions of dollars in property damage and significant delays of

construction activities. Protesters used lockdown and blockade techniques to shut down

construction of DAPL on an almost daily basis. Recognizing its imprint on these activities,

Earth First! Journal through Flory has glorified and reinforced this eco-terrorism on its website,

calling for further sabotage and a proliferation of attacks on Energy Transfer’s infrastructure

projects.

        77.     The Enterprise’s racketeering activities include: (i) funding, directing, controlling,

and intentionally inciting acts of terrorism that violate the U.S. Patriot Act, including damaging

or attempting to damage an energy facility and committing arson on federal property and on

private property used for interstate commerce; (ii) using the mails and wires as part of a scheme

to defraud the public inciting violence; (iii) interstate drug trafficking to support these illegal

terrorist activities; (iv) transporting and transmitting misappropriated funds and property through

interstate commerce; (v) use of mail and wires to disseminate false and misleading allegations to

Energy Transfer’s critical market constituents; and (vi) conspiracies to do the same.

        78.     The common purpose of the Enterprise was to manufacture and disseminate false

and sensational claims about DAPL to fund and facilitate its racketeering activity.




                                                  23
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 24 of 76




       79.     For approximately fourteen months this group and the others comprising the

Enterprise have been pursuing the Enterprise’s purposes, and they continue to do so today,

targeting Energy Transfer’s latest infrastructure projects.

       B.      The Illegal Campaign Against The Dakota Access Pipeline

       80.     Consistent with the Enterprise’s well-honed playbook, the illegal campaign

against Energy Transfer and DAPL was comprised of three critical components. First, GPI and

GP-USA, working in concert with other putative ENGOs, manufactured and disseminated six

categories of misinformation which were intentionally and expressly marketed to the public as

“facts” based on “research” and “science.” These statements were designed to fraudulently

mislead and incite members of the public to criminal trespass, violence, and property destruction.

GPI and GP-USA also used its funds to directly and indirectly support these criminal activities.

       81.     Second, the Enterprise -- through John and Jane Does holding themselves our as

representatives of Earth First! -- planted and funded eco-terrorists on-the-ground in North Dakota

to radicalize the protest movement and incite acts of criminal sabotage. Enterprise members

Greenpeace and John and Jane Does holding themselves out as representatives of Earth First!

organized direct action trainings to train recruited protesters in acts of vandalism and violence.

Greenpeace also provided funds and supplies for these criminal activities, including funds for

travel, housing, and supplies for the attacks, and funds for legal representation and bail for those

arrested during the attacks.

       82.     Third, after recruiting and funding the violent elements from out-of-state to

descend on North Dakota, the Enterprise exploited the proliferation of protest camps to secure

additional funding through illegal means including, among others, drug trafficking to protesters

at the camp. The Enterprise used the funds from these activities to finance their continued

operations and line the pockets of their executives.
                                                 24
  Case 1:17-cv-00173-BRW-CRH               Document 95         Filed 08/06/18      Page 25 of 76




             1. The Enterprise Disseminates False Claims About DAPL to Fund
                And Facilitate Its Racketeering Activity

       83.     Beginning in July 2016, and continuing up until the operation of DAPL, GPI and

Greenpeace USA ubiquitously disseminated false and sensational claims about DAPL, which

were untethered to any facts, to manufacture misinformed outrage that could be used to induce

donations used to facilitate the Enterprise’s racketeering activity and recruit individuals to

engage in these activities, or other activities that would provide cover for such illegal activity.

GPI and GP-USA disseminated these claims on their respective websites, and in direct

communications with Energy Transfer’s critical market constituents. These intentionally

inflammatory claims, which were continuously disseminated in high-profile reports, websites,

blog posts, and on social media, including Facebook and Twitter, were deliberately false and

misleading for the reasons set forth below. For a full recitation of the date, author, and content

of these false statements, see Appendices A and B.

                      a.       The Enterprise Misrepresents That DAPL
                               Traverses SRST Tribal Treaty Lands

       84.      First, Greenpeace, in coordination with other similarly situated purported not-

for-profits, created the widespread misperception that DAPL would be built across SRST land or

that there still exists a legal dispute about whether the SRST holds title to some of the land at

issue. None of this is true.

       85.      In fact, the pipeline is located a half-mile north of the legal boundary of the

SRST reservation, and proceeds beneath Lake Oahe.

       86.      The 1.4 miles of land beneath and adjacent to Lake Oahe is not part of the SRST

reservation, nor is it the sovereign land of any other Native American tribe. It is indisputably

federally-owned property. Moreover, the land on either side of the federally-owned Lake Oahe

parcel is privately owned.

                                                  25
  Case 1:17-cv-00173-BRW-CRH                 Document 95     Filed 08/06/18      Page 26 of 76




        87.     Any claim that portions of the public or private land is “unceded” tribal land

ignores that the question of ownership has been conclusively resolved by the United States

Supreme Court, which held in 1980 that the federal government exercised its Constitutional

power of eminent domain and “effected a taking of tribal property.” That Constitutional taking

encompassed land north of the current legal boundary of the SRST reservation, including the

privately owned parcel of land used for staging and construction.

        88.     While SRST does maintain certain fishing and recreational rights to the waters of

Lake Oahe, the United States District Court for the District of Columbia held that construction of

DAPL will not impair the Tribe’s rights to hunt and fish on that body of water. The Court

further upheld the Corp’s conclusion that operation of the pipeline will not have an adverse

impact on Lake Oahe.

        89.     Highlighting the disingenuous nature of Greenpeace’s claims of cataclysmic risks

posed by the pipeline, at the same time people were being incited to physical violence and

terrorism to prevent fictional risks and impingement on tribal sovereignty, not far away crude oil

was being transported right through SRST’s reservation by rail -- a vastly more dangerous mode

of transportation -- as it has been for decades without objection.

                       b.    The Enterprise Misrepresents DAPL Will
                             Poison Tribal Water

        90.      Greenpeace also falsely alleged that Energy Transfer is “poisoning the water of

thousands of people.” The purported basis for these false statements is that operation of DAPL

will inevitably result in a catastrophic oil spill.

        91.      These claims misrepresent, distort, and omit the relevant science and facts which

unequivocally demonstrate pipelines are the safest method to transport energy products and the




                                                      26
   Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 27 of 76




risks of pipeline rupture are generally minimal, with an oil spill a highly unlikely occurrence,

actually happening less than 0.001% of the time.

         92.   Moreover, the risk of pipeline rupture and oil spill are even more remote with

respect to DAPL, which was designed and constructed using the latest safety and

environmentally protective technologies, and in strict compliance with federal safety

requirements, safety codes, and industry best practices, including high-performance external

coating over the entire pipeline to reduce the risk of external corrosion, horizontal directional

drilling (“HDD”) to install the pipeline deep below bodies of water without disturbing them,

thicker walled pipe in certain areas, and advanced monitoring leak detection and remotely

controlled isolation valves to prevent spills in the remote case of rupture.

         93.   Allegations that DAPL would poison SRST’s water supply are further

undermined by the facts that SRST’s existing water intake near Fort Yates is 20 miles away.

Sufficient time exists to close the nearest intake valve to avoid human impact in the unlikely

event of a spill. Moreover, the remote risk of contamination of SRST water-supply was further

mitigated when SRST’s water intake structure was moved 50 miles further downstream in

August 2017. Indeed, USACE publicly noted during the permitting process, that SRST is

constructing the Indian Memorial Intake, a new reservation-wide system intended to provide for

all of the SRST reservation’s water needs. Once in operation, the intake at Fort Yates was taken

out of service. The location of the new water intake 70 miles downstream from the Lake Oahe

crossing allows for increased response time to prevent hydrocarbons from a pipeline spill at the

Lake Oahe crossing from reaching the Indian Memorial Intake in the highly unlikely event of a

spill.




                                                 27
  Case 1:17-cv-00173-BRW-CRH               Document 95         Filed 08/06/18     Page 28 of 76




       94.     Finally, Energy Transfer and its partners have developed site-specific

geographical response plans to limit any impact from a release, including measures for the

deployment of containment or diversionary booms at predetermined locations and oil collection

and recovery activities to prevent migration of oil. Emergency response notifications will be

made to federal, state, and local agencies and tribal officials.

                      c.    The Enterprise Misrepresents DAPL Will
                            Catastrophically Alter Climate

       95.      Defendants GPI and GP-USA also exploited the mass interest and concern about

climate change with the false charge DAPL is a “climate destroying project” that will result in

increased greenhouse emissions.

       96.       In fact, DAPL actually has a net positive impact on climate change by providing

much-needed infrastructure for domestic oil production that would otherwise be transported by

means that are less safe for the environment, such as rail, truck, and barge. Since DAPL became

operational, oil-train traffic within North Dakota has decreased from daily traffic of 12 trains, or

1,200 cars, at similar oil production volumes, to 2 trains, or 200 cars with DAPL, thus decreasing

greenhouse emissions.

       97.      Without DAPL, more infrastructure for rail and trucking would be built to

transport oil in production, increasing both carbon emissions and the risk of spill. Thus,

analyzing a rail alternative to the Keystone XL Pipeline, the Keystone XL Environmental Impact

Analysis calculated a 27.8% to 41.8% increase in greenhouse gases compared to the proposed

pipeline.

                      d.    The Enterprise Misrepresents Energy Transfer Used Excessive




                                                  28
  Case 1:17-cv-00173-BRW-CRH                Document 95        Filed 08/06/18       Page 29 of 76




                            Force to Combat Peaceful Protests

       98.       Greenpeace also falsely alleged that Energy Transfer “commit[ted] grievous

human rights violations” against “peaceful” and “non-violent” protestors through

“[i]ndiscriminate use of attack dogs, rubber bullets, concussion grenades, tazers and mace.”

       99.       However, the so-called “peaceful protests” were anything but peaceful, and as set

forth below, Greenpeace, John and Jane Does holding themselves out as representatives of Earth

First!, and others deliberately incited, trained and funded radicals to infiltrate the protest

campaigns to ensure that end.

       100.      As the State of North Dakota has publicly acknowledged: “[t]he real brutality

[was] committed by violent protesters who use[d] improvised explosive devices to attack police,

use[d] hacked information to threaten officers and their families, and use[d] weapons to kill

livestock, harming farmers and ranchers.”

       101.      This Court has likewise noted:

       With respect to the assertion the movement has been a peaceful protest; one need
       only turn on a television set or read any newspaper in North Dakota. There the
       viewer will find countless videos and photographs of the “peaceful” protestors
       attaching themselves to construction equipment operated by Dakota Access;
       vandalizing and defacing construction equipment; trespassing on privately owned
       property; obstructing work on the pipeline; and verbally taunting, harassing, and
       showing disrespect to the law enforcement community. The State of North Dakota
       has estimated the cost of law enforcement to date at $2 million dollars. The
       estimated damage to construction equipment and loss of work on the project is far
       in excess of several million dollars. The Morton County sheriff reported that 22
       protestors were arrested on September 13, 2016, just a few days ago. To suggest
       that all of the protests to date have been “peaceful” and law-abiding defies common
       sense and reality. Nearly every day the citizens of North Dakota are inundated with
       images of “peaceful” protestors engaging in mindless and senseless criminal
       mayhem.

Dakota Access, LLC v. Archambault, Case No. 1:16-cv-00296, ECF No. 45, at 3-4 (D.N.D. Sept.

16, 2016).



                                                  29
  Case 1:17-cv-00173-BRW-CRH                 Document 95      Filed 08/06/18      Page 30 of 76




        102.     Construction workers, private security officers, and law enforcement at DAPL

worksites exercised extraordinary restraint in response to the violence, responding with force

only when necessary to protect themselves or unarmed construction workers from harm.

                       e.    The Enterprise Misrepresents DAPL was Routed and
                             Approved Without Adequate Environmental Review or
                             Consultation

        103.     Greenpeace and those ENGOs working in concert with them misrepresented that

DAPL’s approval “was rushed, lacked proper government-to-government consultation with

[SRST],” was “rubber-stamp[ed],” and “approved without adequate environmental reviews.”

These claims have been rejected twice by the U.S. District Court of the District of Columbia.

        104.     On September 9, 2016, the U.S. District Court for the District of Columbia

explained the facts “tell a different story” and in reality, “the Corps exceeded its [National

Historic Preservation Act] obligations.” The court detailed Energy Transfer’s careful

consideration of historic artifacts, noting the Company “prominently considered” the “potential

presence of historic properties” in choosing the route for the pipeline, consulted past cultural

surveys, and hired professionally licensed archaeologists to conduct “extensive new cultural

surveys of its own.” The court further noted Energy Transfer rerouted when the survey revealed

previously unidentified historic or cultural resources, including “140 times in North Dakota

alone to avoid potential cultural resources . . . .”

        105.     The court also detailed efforts to consult with SRST, noting that despite “dozens

of attempts to engage Standing Rock” the “Tribe largely refused to engage in consultations.”

Nonetheless, the court concluded USACE exceeded its consultation requirements because when

it met with SRST, they “engaged in meaningful exchanges that in some cases resulted in

concrete changes to the pipeline’s route.” The court emphasized “the Corps took numerous trips

to Lake Oahe with members of the Tribe to identify sites of cultural significance,” “met with the
                                                   30
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18       Page 31 of 76




Tribe no fewer than four times…to discuss their concerns with the pipeline,” and re-routed the

pipeline “in response to the Tribe’s concern about burial sites.”

       106.     Likewise, by decision dated June 14, 2017, the same court rejected the false

claims of inadequate environmental review, finding that USACE adequately considered viable

alternatives to the route, the risks of spill, and impacts of a potential spill. The court held Energy

Transfer properly rejected alternate routes, including the Bismarck route because the route would

cross through or close to wellhead source water protection areas, and, unlike the selected route,

would have been co-located with existing utility or pipeline routes for only 3 percent of the route

increasing the impact on cultural resources.

       107.     The court also found the analysis of the risks of an oil spill was sufficient, noting

that the Environmental Assessment “devotes several pages to discussing DAPL’s ‘reliability and

safety,’” providing “the necessary content” to support its conclusion that the risk of a spill is low.

                      f.    The Enterprise Misrepresents That Energy Transfer
                            Intentionally Desecrated Cultural Resources

       108.     The most damaging, and wholly false, statements disseminated by the

Greenpeace Defendants and other ENGOs were the claims that DAPL employees and personnel

“deliberately desecrated documented burial grounds and other culturally important sites,”

“destroyed sacred Native Lands . . . ,” and “religious and other historical sites.”

       109.     Contrary to these claims, the DAPL route was planned to avoid sites that had

been listed on or were eligible for the National Register of Historic Places. The Company

specifically selected a route that crosses “brownfield” locations, or tracts of land already

disturbed by previous infrastructure projects.

       110.     Where DAPL crosses Lake Oahe the pipeline is co-located in parallel (but much

deeper than) the Northern Border Pipeline, a 1,408-mile natural gas pipeline, as well as overhead


                                                 31
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 32 of 76




power lines. HDD drilling at 90 to 115 feet below Lake Oahe makes construction extraordinarily

unlikely to impact cultural or tribal resources, as geologic soils at those depths predate human

occupation.

       111.        In North and South Dakota, Energy Transfer retained archeologists from three

different, firms to conduct a cultural survey of a 400-foot corridor along the entire planned route

– 200 feet on each side of the route. Energy Transfer surveyed nearly twice as many miles in

North Dakota than the 357 miles that would eventually be used for the pipeline. When the

surveys identified potential cultural resources, Energy Transfer modified the route to avoid those

resources. The Company also had a comprehensive Unanticipated Discovery Plan in the event

construction encountered a cultural resource not detected by cultural surveys.

       112.        The Enterprise’s claim that Energy Transfer deliberately desecrated documented

historical resources has been disproven by the State Historical Society of North Dakota, which

conducted cultural resource surveys of the 1.36-mile-long-corridor following the Enterprise’s

putative identification of cultural resources prior to Labor Day weekend. The State Historical

Society concluded the “inventory and inspection conducted . . . yielded no evidence of

infractions . . . with respect to disturbance of human remains or significant sites.”

              2. The Enterprise Organizes, Supports And Funds Acts Of Violence

       113.     Having recruited and incited hundreds of thousands of protesters to North Dakota

based on fabricated and unsubstantiated claims about the putative environmental and cultural

impacts of DAPL, beginning no later than August 2016, John and Jane Does holding themselves

out as members of Earth First! used funds raised through the campaign to plant radical, violent

eco-terrorists on the ground who would establish “resistance camps” near DAPL construction

sites and begin coopting and inducing protestors to engage in illegal interference and detruction

of the pipeline.
                                                 32
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 33 of 76




       114.    The first camp formed in North Dakota was the Sacred Stone Camp, formed by

members of the SRST. Originally, the Sacred Stone Camp was formed entirely on the SRST

reservation, but eventually expanded to USACE property. At its largest, the Sacred Stone Camp

contained approximately 3,000 to 4,000 people. The camp had its own fundraising, legal, and

media platforms and collectives to support their direct actions against the pipeline.

       115.    The next camp that was formed was Oceti Sakowin, originally created in August

2016 as an overflow camp after DAPL opponents began arriving in North Dakota en masse.

Oceti Sakowin Camp is the largest of the camps, with approximately 10,000 to 15,000 people. It

was formed on land belonging to the Corps. Due to its proximity to DAPL, this camp has been

the primary launching point for the Enterprise’s direct actions against DAPL, and its organizers

describes it as “the main starting place for participation to stop the Dakota Access Pipeline.”

Like the Sacred Stone Camp, the Oceti Sakowin camp had its own fundraising, legal, and media

platforms and collectives to support their direct actions against the pipeline.

        116.    The Red Warrior Camp was initially formed as a sect within Oceti Sakowin

Camp. Its members are the primary perpetrators of violence and disorder and are known for

coordinating and employing militant tactics to disrupt DAPL construction. The Red Warrior

Camp openly coordinates and endorses illegal behavior on social media. Red Warrior Camp

established a sophisticated security team to prevent protestors who did not share their

commitment to militant tactics from entering the camp – thus preventing detection for its illegal

and violent actions against the pipeline. Members of Red Warrior Camp had access to tactical

tools and weapons such as machetes, glocks, AR -15s, shotguns, body armor, .30/30 Rifle, two-

way radios, and night vision capabilities. As with the other two camps, Red Warrior Camp had

its own fundraising, legal, and media platforms and organizations.



                                                 33
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18       Page 34 of 76




       117.    Beginning in August 2016, Greenpeace USA, using funds it had fraudulently

procured from its misinformation campaign, sent trainers to North Dakota to lead direct action

training at protest camps for the protesters it recruited. Using methods developed and published

by Earth First! through Earth First! associate Flory, and set forth in the Earth First! Direct Action

Manual and EcoDefense Guide, Greenpeace USA conducted intensive “daily direct action

trainings,” for thousands of protestors at protest camps in North Dakota. The sessions included

training in “hard lockdown blockades,” “technical blockades,” and illegal destruction of pipeline

and associated properties. Greenpeace USA taught protesters how to construct and use body

blockades, U-locks and chains, lockboxes, and barrels to secure lockboxes. Armed with

Greenpeace training in Earth First! tactics, protestors unlawfully locked down the DAPL

construction sites and equipment and harassed Energy Transfer personnel on an almost daily

basis, between August and November 2016. These daily protests and associated illegal activities

were, in part, intended to distract and occupy security and law enforcement personnel, as as to

facilitate extreme and illegal activities, including drug distribution and pipeline destruction.

       118.    Defendant John and Jane Does, holding themselves out as Earth First! associates,

provided $500,000 of funding to a group of violent eco-terrorists to establish an encampment

near the juncture of the DAPL pipeline construction and the Lake Oahe crossing and to infiltrate

and coopt the movement assembled there. This group identified itself as Red Warrior Camp.

Red Warrior Camp attracted the most militant elements from surrounding camps, absorbing

certain of the protestors recruited and trained by the Greenpeace Defendants, as well as certain

individuals Greenpeace sent to the camps.

       119.    Defendant Cody Hall was one of the founders and leaders of Red Warrior Camp.

He and those operating at his direction infiltrated more peaceful groups in late August and early



                                                 34
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 35 of 76




September 2016 and instigated criminal behavior, including damage to and destruction of the

pipeline facility.

        120.     On August 11, 2016, roughly 200 protestors led by Red Warrior Camp members

and Cody Hall entered onto Dakota Access property near Lake Oahe without permission and

obstructed and delayed pipeline construction. Protestors, including Cody Hall and other

members of Red Warrior Camp, destroyed Dakota Access’s property to gain access to

construction sites and disrupt construction activities. They also jumped a fence, threatening

DAPL employees and law enforcement personnel with knives.

        121.     On August 12, 2016, roughly 350 protestors, led by members of Red Warrior

Camp, entered onto Dakota Access property, again without permission. Due to threats of

violence, Dakota Access personnel had to be evacuated from Dakota Access’s property by police

escort. Protestors swarmed departing company vehicles and threw rocks and bottles at them.

        122.     On September 3, 2016, hundreds of protestors, again led by Red Warrior Camp

and Defendant Cody Hall, attacked construction crews working on Dakota Access property near

Highway 1806. The protesters illegally blocked traffic, and quickly became violent, destroying

facility property, and stampeding with hundreds of protesters, horses, dogs, and vehicles onto

land where construction was ongoing. Protesters threatened security personnel with knives, hit

them with fence posts and flagpoles, and otherwise physically attacked private security personnel

retained by Energy Transfer, resulting in multiple security guards and dogs being hospitalized.

One officer reported being cornered by 40-50 protesters who hit him with a fence post, kicked

him in the knees so he fell to the ground, and then call[ed] to other protestors to “stomp him,

kick him.”




                                                35
  Case 1:17-cv-00173-BRW-CRH               Document 95         Filed 08/06/18      Page 36 of 76




       123.     Referring to violence and disorder caused by the Enterprise on September 3,

2016, Morton County Sherriff Kyle Kirchmeier stated:

       Any suggestion that today’s event was a peaceful protest, is false. This was more
       like a riot than a protest. Individuals crossed onto private property and accosted
       private security officers with wooden posts and flag poles. The aggression and
       violence displayed here today is unlawful and should not be repeated. While no
       arrests were made at the scene, we are actively investigating the incident and
       individuals who organized and participated in this unlawful event.

       124.     Days later, Red Warrior Camp leader Cody Hall was arrested for his role in the

September 3 and September 6, attacks.

       125.     On September 9, 2016, 150-200 protesters, again led by Red Warrior, swarmed

and damaged a DAPL construction site on private property two miles east of Highway 1806.

Again, law enforcement observed protesters carrying knives and hatchets, protesters on

horseback, and protesters wearing masks and goggles.

       126.     After Red Warrior Camp led these initial attacks on DAPL property and

construction crews, Red Warrior Camp, through Defendant Cody Hall and Krystal Two Bulls,

and the Greenpeace Defendants agreed that Greenpeace USA would use its fraudulent campaign

to raise money for the continued illegal activities at Red Warrior Camp, including directing

fraudulently induced funds to Mr. Hall and using its campaign to solicit direct donations and

supplies to Mr. Hall. As part of this effort, between September 12 and 19, Greenpeace USA

organized donation drives at its offices in ten cities across the country to collect supplies to fund,

feed, and house the militant group at the camp.

        127.    Notwithstanding Red Warrior Camp’s violent protests leading to its leader’s

arrest, Greenpeace published a public “call to action” from Red Warrior Camp representative

Krystal Two Bulls on their website, stating the Red Warrior Camp “calls on all people from

around the world to take action” and “come stand with us” against DAPL. Two Bulls urged, “If


                                                  36
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 37 of 76




you cannot be physically present, you can still take escalated action to stop the pipeline and

support our struggle.” Even today, Ms. Two Bulls’ biography is available on Greenpeace’s

website. During this period, Greenpeace also sent supplies generated by the donation drives

directly to Red Warrior Camp’s leader and organizer, Cody Hall, enabling Red Warrior to

continue its violent attacks against Energy Transfer.

       128.     At the same time, in September 2016, Defendant John and Jane Does, operating

as members of Earth First!, trained Jessica Reznicek and Ruby Montoya, to plot, incite, and

execute direct action and criminal sabotage against DAPL. Reznicek and Montoya formed

Mississippi Stand, established an encampment near construction sites in Iowa, and recruited

other members to join them. Defendant John and Jane Does, representatives of Earth First!, held

training sessions for Reznicek, Montoya, and other Mississippi Stand members in September and

October 2016 in Lee County, Iowa. At the trainings, Defendant John and Jane Does,

representatives of Earth First!, provided instructions on blockades and sabotage, as well as the

threats of “security culture,” in order to avoid arrest and accountability for criminal sabotage. By

late October, members of Mississippi Stand had also formed protest camps in North Dakota.

       129.     Throughout September and October, Mississippi Stand stopped DAPL

construction in Iowa on an almost daily basis. Mississippi Stand members regularly used the

“steel or sleep dragon” techniques, detailed in the Earth First! Direct Action Manual to lock

themselves to construction sites and equipment. Its “lockdowns” were frequently recorded on

video and disseminated through its website and social media, each accompanied with a call for

funding for to support more direct actions. Mississippi Stand’s direct actions resulted in

numerous arrests, and the eco-terrorist group used crowdfunding to raise legal funds specifically




                                                37
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18     Page 38 of 76




to bail out arrestees and keep its operation going. Mississippi Stand’s efforts were routinely

promoted on Earth First! Journal’s website.

       130.     Also in October 2016, seeking to up the ante in North Dakota, through Krystal

Two Bulls, Red Warrior Camp issued a “communique” seeking “reinforcements from skilled and

trained Warriors prepared to evict the Dakota Access Pipeline” to join them in Standing Rock

immediately to “kill this Black Snake once and for all.” Earth First! Journal published the

communique on its website. Throughout October, as protestors continued to arrive at the camps

in North Dakota, Greenpeace USA’s direct action trainers conducted additional technical

lockdown blockade trainings.

        131.    Red Warrior Camp also disseminated a series of recruitment and fundraising

videos through its official media team, the Women Warriors Media Cooperative, led by

Defendant Manuel. Manuel’s videos regularly used themes of guerrilla warfare and insurgency,

and featured masked or hooded members of Red Warrior Camp clad in military-style

camouflage jackets, ski goggles, and bandanas. The videos claim to bring a “message from the

active front line resistance” and request “skilled and trained warriors who are prepared to evict

the Dakota Access Pipeline.” For example, a video styled as an “Official Warrior Communique

From the Front Lines” and produced with digital effects imitating a coded military transmission,

opens with a masked member of Red Warrior Camp issuing a call to action. This video

repeatedly cuts to footage of violent anarchic riots arson across the world and urges the viewer

to “take railroads. Take bridges. Do it! They cannot stop us all!”

        132.    Another Red Warrior Camp video titled “Mask Up and Donate” seeks financial

support. The video states that the Red Warrior Camp is “looking for likeminded warriors” who

will “join [them] in [their] fight for water by any means necessary.” The video brags that



                                                38
  Case 1:17-cv-00173-BRW-CRH              Document 95         Filed 08/06/18      Page 39 of 76




members of Red Warrior Camp are “Black Snake Killaz [sic]” who have “rubber bullets for

breakfast.” The video includes instructions for donating to Red Warrior.

        133.    Answering Red Warrior’s call to action, on October 27, 2016, a large group of

people directed, incited, and led by Red Warrior Camp entered Dakota Access property near

Highway 1806, set up roadblocks, and established an encampment. After law enforcement

“requested them to remove the barricade and have protestors vacate the private property.”

Nevertheless, protestors returned, and further requests that they leave the Dakota Access

property were met with violence. Protestors set up makeshift barriers and lit them on fire to

prevent the officers from accessing the site and threw Molotov cocktails, logs, rocks, debris, and

even urine at the officers. Protestors even attempted to stampede a nearby group of buffalo at

law enforcement. They also set fire to numerous vehicles, three pieces of Dakota Access

construction equipment, and two bridges. During the course of the attack, Red Fawn Fallis, a

radical eco-terrorist, fired three shots from a pistol at a police officer, narrowly missing a police

deputy. Fallis has since been arrested and charged with attempted murder.

       134.     At the same time, spurred by the Red Warrior’s messages of violence and

disorder, members of another radical eco-terrorist group called Akicita Group attacked a Dakota

Access security guard who went to investigate equipment that was on fire. Upon the security

guard’s arrival in his work vehicle, Israel Hernandez and Michael Fasig, both Akicita members,

repeatedly and intentionally rammed the security guard’s vehicle to force him off the road. Once

the security guard’s vehicle was in a ditch, a group of protesters approached the security guard,

some of whom were brandishing knives. Protesters, armed with knives, encircled the security

guard and seized a rifle that was in his possession and then, holding him against his will,

eventually released him to the Bureau of Indian Affairs. The security guard’s vehicle was later



                                                 39
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 40 of 76




set on fire. Hernandez and Fasig were charged with reckless endangerment and criminal

mischief as a result of this attack.

        135.     Immediately after the attack, Red Warrior Camp published a documentary-style

recruitment video glorifying their unlawful acts. The video displayed images of burning

barricades, burning cars, and violent confrontations between masked Red Warriors and law

enforcement.

        136.     Red Warrior Camp’s militant actions were taken without the approval of the

SRST, or other ad hoc governing bodies at the protest camps. As a result of their aggressive and

violent tactics, on November 1, 2016, the SRST Tribal Council voted 10-0 to ask Red Warrior

Camp to leave the protest camps out of concern for the safety of the peaceful protesters opposing

DAPL.

        137.     Because of the degree of their violent tactics, Red Warrior Camp’s members,

other than Cody Hall, have gone to extreme lengths to hide their identity. Among other things,

they requested that documentary film makers, with footage of their conduct desist from

distributing the film in order to ensure that their identities remain unknown.

        138.     After the vote, Mississippi Stand endorsed Red Warrior’s tactics on Facebook,

stating that it “fights the black snake in solidarity with Red Warrior Camp,” and that it was

“continuously inspired” by Red Warrior’s “direct efforts to halt the black snake.” Mississippi

Stand stated that “the only thing that is going to kill this snake is warriors showing up on DAPL

easement and refusing to leave until construction is shut down in all four states permanently,”

and that it would not stop fighting “until we cut off this black snake indefinitely.”

        139.     Mississippi Stand’s methods in Iowa escalated in tandem with Red Warrior’s. In

a direct action on November 10, 2016, Mississippi Stand activists, armed with screwdrivers,



                                                 40
  Case 1:17-cv-00173-BRW-CRH                Document 95        Filed 08/06/18      Page 41 of 76




climbed into a section of pipe to occupy it and prevent construction. After the activists were

removed and arrested, construction workers were forced to rip out the plastic section of the pipe

to ensure that the activists did not drill any holes in the pipeline with their screwdrivers.

       140.     Immediately after the event, Mississippi Stand posted a video of the pipeline

occupation on Facebook, touting the “successful action of over 16 hours of interfering with the

Dakota Access pullback under the waters” and implored the public to “Please donate, every little

bit helps.” Donations to Mississippi Stand were sent directly to Ruby Montoya, Mississippi

Stand’s press representative, in Iowa. Foreshadowing more destructive and dangerous measures

to come, Montoya told press that she and Mississippi Stand were “willing to risk everything.”

Earth First! Journal immediately publicized Mississippi Stand’s pipeline occupation on its

website.

       141.     In North Dakota, despite SRST’s formal effort to evict them, Red Warrior Camp

did not leave, and instead incited even more violent action. On November 20, 2016,

approximately 650 protesters, incited and led by Red Warrior Camp, gathered at Backwater

Bridge in Mandan, North Dakota, which had been closed since October due to concerns about its

structural integrity. At around 6:00 pm, in what the police described as an organized tactical

movement, Red Warrior Camp attempted to flank and attack police officers in a very aggressive

manner. Members of Red Warrior Camp, some of whom claimed to be carrying firearms,

attempted to move several trucks that had been burned by rioters on October 27 in order to

facilitate crossing the bridge and entering Dakota Access property. Mississippi Stand members

who were in North Dakota participated in the attack. Protesters started numerous fires on and

around the bridge and camps and threw objects and homemade weapons, including grenades and

flares, at law enforcement officers. They also threw flares into the sky and aimed strobes and



                                                  41
  Case 1:17-cv-00173-BRW-CRH               Document 95       Filed 08/06/18      Page 42 of 76




high-output spotlights at Dakota Access security helicopters. Red Warrior Camp also employed

at least three drones in the vicinity of the bridge and were seen crossing barbed wire to enter onto

Dakota Access property without permission, with one member laying across the wire to allow

others to enter.

        142.       Additionally, Red Warrior Camp and those incited by the lies disseminated by

the Enterprise, have taken other extreme measures promoted by the Earth First! Direct Action

Manual and Eco Defense Manual to sabotage the pipeline, including repeated acts of arson on

construction equipment and pipeline destruction. In August 2016, three fires were reported in

Jasper Country, Reasnor, and Mahaska County, Iowa. In each instance, heavy equipment,

including bulldozers and backhoes, were intentionally burned. In total, the fires caused millions

in damages. The Earth First! Journal publicized the arson on its website and Facebook,

proclaiming, “Resistance is growing!”.

        143.       In October 2016, unknown individuals set fire to construction equipment along

the pipeline route near the town of Reasnor, Iowa, causing more than $2 million in damages to

construction equipment. The arson method was taken directly from Earth First!’s Ecodefense

manual.

        144.       On November 8, 2016, Defendants Reznicek and Montoya traveled to a Dakota

Access construction site in Mahaska County, Iowa, where, following instructions in the

Ecodefense manual, they added motor oil and rags to six coffee canisters and placed them on the

seats of six pieces of machinery, piercing the coffee canisters once they were in place and

striking several matches, anticipating that the seats “would maintain a fire long enough to make

the machines obsolete.” They were correct. Their arson damaged two excavators, a bulldozer,

and a side boom, causing more than $1 million in damages. Thereafter Reznicek and Montoya,



                                                 42
  Case 1:17-cv-00173-BRW-CRH               Document 95         Filed 08/06/18    Page 43 of 76




recognizing the success of the method, set fire to equipment on several other occasions, using

gasoline and rags along with tires. In May 2017, a contractor-owned skid loader and pipeline

equipment in Newell, Iowa were set on fire. The fire caused nearly $150,000 in damages.

       145.     Finally, on at least three occasions, Reznicek and Montoya, again following the

Ecodefense manual, used oxy-acetylene cutting torches to cut holes into the pipeline. While

Reznicek and Montoya had previously used arson on construction equipment, stopping

construction for at least a day, they sought to up the ante.

       146.     Leading up to March 2017, Reznicek and Montoya “began to research the tools

necessary to pierce through 5/8 inch steel pipe.” They purchased equipment used to affect the

destruction outside their city “in efforts to maintain anonymity,” as their goal was to “push this

corporation beyond their means to eventually abandon the project.” Having practiced with their

equipment, they “were able to get the job down to 7 minutes.” On approximately March 13,

2017, Reznicek and Montoya used oxy-acetylene cutting torches to pierce a hole through an

above-ground safety valve in Mahaska County, Iowa.

       147.     Recognizing the effectiveness of the pipeline destruction which they claimed

“successfully delay[ed] completion of the pipeline for weeks,” Reznicek and Montoya “began to

use this tactic up and down the pipeline, throughout Iowa (and a part of South Dakota), moving

from valve to valve until running out of supplies, and continuing to stop the completion” of

DAPL. On approximately March 17, 2017, in Sioux County, South Dakota, Reznicek and

Montoya used the cutting torch to cut holes at two valve sites near Sioux Falls. On both

occasions, oil had not yet been flowing through the pipeline. Earth First! Journal publicized

images and news of the sabotage on Facebook and its website, calling on the public to “Stand up

fight back.”



                                                 43
  Case 1:17-cv-00173-BRW-CRH                Document 95        Filed 08/06/18      Page 44 of 76




       148.     On May 3, 2017, in Wapello County, Iowa, Reznicek and Montoya cut through a

chain link fence protecting a section of DAPL and attempted to use the cutting torch to cut into

the aboveground section of the pipe in which crude oil was already flowing. Fortunately, the

Reznicek and Montoya failed to cut through the thick steel but left visible burn marks. Reznicek

and Montoya claim their tactics of arson and pipeline destruction were “peaceful,” but they are

the exact opposite. Had the torch successfully cut through the pipeline as in the prior two

attempts to destroy the pipeline, the torch would have ignited the oil inside and caused an

explosion. These acts of sabotage not only damaged the pipeline, but endangered the public at-

large and the very lands and waters the Enterprise claims it seeks to protect.

       149.     These terrorist acts of arson and pipeline destruction were intended and directly

incited by the Enterprise’s misinformation campaign, and John and Jane Does holding

themselves out as representatives of Earth First! gave Reznicek and Montoya the training and the

means to execute their eco-terrorism. In a July 24, 2017 statement, Reznicek and Montoya

publicly claimed responsibility for the arson and pipeline destruction, citing to the Enterprise’s

misrepresentations regarding violations of “rule of law, indigenous sovereignty, land seizures,

state sanctioned brutality.” Their statement is a direct response to the Enterprise’s call to action,

and Reznicek and Montoya acknowledge they acted after participating in other aspects of the

Enterprise’s campaign, including “Civil Disobedience” and “boycotts and

encampments.” Evidence of the Enterprise’s direction and control is likewise reflected in

Reznicek and Montoya’s echoes of the Enterprise’s false claims that DAPL “brutalize[s] the

land, water, and people,” “wishes to poison literally millions of us irreparably by putting us all at

risk of another major catastrophe with yet another oil spill,” and will leak “until the oil is shut off

and the pipes are removed from the ground.”



                                                  44
  Case 1:17-cv-00173-BRW-CRH                Document 95        Filed 08/06/18       Page 45 of 76




       150.     Reznicek and Montoya concluded with a call for others to follow in their

path: “We are speaking publicly to empower others to act boldly, with purity of heart, to

dismantle the infrastructures which deny us our rights to water, land and liberty. . . . [I]t is our

duty to act with responsibility and integrity, risking our own liberty for the sovereignty of us

all.” To “inspire others to act boldly,” Reznicek and Montoya provide a roadmap for arson and

pipeline destruction,” outlining details of their “peaceful direct action” including by informing

the public of materials that can be used to commit arson and pipeline destruction, where and how

they should be purchased, the hindrance of scouting and the importance of “trust[ing] your spirit,

trust[ing] the signs,” and even how to interact with federal agents. Reznicek and Montoya’s

statement even included a link to an image of the damaged pipeline published on the Earth First!

Journal’s website.

       151.     The Enterprise glorified Reznicek’s and Montoya’s violent actions. Earth First!

Journal re-published Reznicek and Montoya’s confession and call to action, and featured an

exclusive interview with the women that promoted their actions. Mississippi Stand!, the radical

eco-terrorist group with which the women are affiliated, has likewise provided Reznicek and

Montoya with a platform for their call to action. The group now seeks to “legitimise and

humanise these land defence methods in our current climate chaos.” The group’s website

launched a page titled “Peaceful Property Destruction,” calling on the public to engage in

destruction of “machines and infrastructure,” claiming among other things that “Jess and Ruby’s

actions were peaceful” and that such property destruction may be justified under the “necessity

defense,” while prominently featuring Reznicek and Montoya’s statement—complete with

instructions—on its website. Consistent with their past campaigns, the group launched a new




                                                  45
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 46 of 76




contribution page, requesting the public to “Contribute to Defense Fund,” as the “legal battle

ahead will set many precedents, including the necessity defence.”

       152.      Already, Reznicek and Montoya’s call to action has had effect. On August 7,

Mississippi Stand! shared on Facebook a statement of anonymous individuals who blockaded an

oil train in Vancouver. The individuals stated that their action “is in solidarity with Ruby

Montoya and Jessica Reznicek – who successfully taught themselves how to sabotage the Dakota

Access pipeline (DAPL), delayed construction of DAPL for weeks, and never got caught until

they turned themselves in recently. . . . We feel Ruby and Jessica showed inspirational leadership

in getting us to step outside of our privileges and comfort zones and ask ourselves, ‘What are we

willing to sacrifice and how far are we willing to go in our resistance?’”

              3. The Enterprise’s Continued Activities Targeting Energy Transfer

       153.      The Enterprise’s orchestration of property destruction and acts of violence

targeting Energy Transfer’s infrastructure projects is ongoing. Greenpeace Defendants have

made interfering with Energy Transfer’s projects their “priority project of 2018” and, working in

concert with Defendant John and Jane Does, representative of Earth First!, and Earth First!

Journal, have focused on halting two projects: the Mariner East 2 pipeline in Pennsylvania and

the Bayou Bridge Pipeline in Louisiana.

       154.      Consistent with their campaign against DAPL, Greenpeace, under the direction

and control of defendant Charles Brown, and working in concert with Earth First! have funded,

trained, directed, and incited protestors to establish encampments in Pennsylvania and Louisiana

to protest the pipeline. Using the Earth First! Direct Action Manual and the Earth First Eco

Defense Guide’s direct action techniques, Greenpeace, under the direction and control of

Defendant Brown, and John and Jane Does Defendants, representatives of Earth First!, have

trained hundreds of protestors at both campsites. Greenpeace has offered free legal
                                                46
  Case 1:17-cv-00173-BRW-CRH               Document 95         Filed 08/06/18      Page 47 of 76




representation to those arrested for their direct actions. Using these techniques, protestors have

stopped construction on almost a daily basis at the Mariner East 2 and Bayou Bridge

construction sites.

       155.     As the Enterprise intended, eco-terrorists have also resorted to more extreme

tactics outlined in Earth First!’s Ecodefense manual. In April 2018, following techniques

outlined in Ecodefense, eco-terrorists “made the two tractors that Energy Transfer Partners was

going to use to construct the Mariner East 2 pipeline near Exton, PA inoperative by cutting their

hoses and electrical wires, cutting off valve stems to deflate the tires, introducing sand into their

systems, putting potatoes in the exhaust pipes, using contact cement to close off the machines’

panels and fuel tanks, and a variety of other mischievous improvised sabotage techniques.” As

recommended in Ecodefense, the sabotage was executed “in a way that would not be noticeable

until operating the machine afterwards had ruined it completely.” The saboteurs proudly

proclaimed that “ETP has had to acknowledge the damage,” and called for “a proliferation of

more actions like these” so that the project would “be seriously compromised.” Earth First!

Journal publicized the “anonymous” communique on its website.

       156.     Likewise, in April 2018, eco-terrorists cut hydraulic hoses and electrical lines

and broke window, and spray-painted messages on backhoes and bulldozers at Bayou Bridge

construction sites. The vandalism resulted in at least $50,000 in damages.

       157.     The Enterprise continues to call for “further sabotage” of the Energy Transfer’s

projects. In July 2018, Earth First! Journal published another “communique” from the eco-

terrorists responsible for the April attacks on Energy Transfer’s construction equipment. The

eco-terrorists announced that they had found other suitable targets by “visit[ing] the pipeline

route,” where “machines and other infrastructure are everywhere, and many are still unguarded.”



                                                 47
  Case 1:17-cv-00173-BRW-CRH               Document 95       Filed 08/06/18      Page 48 of 76




Noting that the ETP projects are “struggling” due to other vandalism, the eco-terrorists

proclaimed that “ETP [is] a prime target for further sabotage” and “encourage[d] people to safely

do their own research and join the fun.”

              4. The Enterprise’s Interference With The Banks Financing DAPL

        158.     Another central component of the Enterprise’s scheme against Energy Transfer

and DAPL was its efforts to aggressively interfere with Energy Transfer’s critical business

constituents through a campaign of misinformation designed to fraudulently induce the

termination of these relationships. Most aggressively targeted were the consortium of banks

financing DAPL and Energy Transfer’s other existing and prospective infrastructure projects.

For a full recitation of the false and misleading statements sent to the banks financing DAPL

and other Energy Transfer infrastructure projects see Appendix A.

       159.     On November 8, 2016, the Enterprise, including Greenpeace USA, sent a joint

letter to the Equator Principles Association (“EPA”), a consortium of global banks committed to

responsible environmental and social practices, which includes, among others, Energy Transfer

financers DNB, ING, Nordea, and BNP Paribas. The letter falsely alleged that Energy Transfer

“deliberately desecrated documented burial grounds and other culturally important sites” and

violated human rights.

       160.     Immediately following receipt of the November 8 letter, Norwegian bank DNB,

one of the 17 banks funding DAPL, announced that it “looks with worry at how the situation

around the pipeline in North Dakota has developed,” and will therefore “use its position to bring

about a more constructive process to find a solution to the conflict.” DNB further threatened that

“[i]f these initiatives do not give appeasing answers and results, DNB will consider its further

involvement in the financing of the project.” In response to continued misinformation, two

weeks later, on November 17, 2016, DNB announced that it had sold off all assets in Energy
                                                48
  Case 1:17-cv-00173-BRW-CRH              Document 95       Filed 08/06/18      Page 49 of 76




Transfer, totaling approximately $3 million. While DNB continued to finance approximately

10% of DAPL, it vowed to reconsider its loan.

       161.    Greenpeace USA immediately touted its role in DNB’s decision to divest its $3

million interest in Energy Transfer. On November 18, 2016, Perry Wheeler of Greenpeace USA

published “Largest Bank In Norway Sells Its Assets In Dakota Access,” claiming credit for

DNB’s divestment of Energy Transfer shares. Nevertheless, Greenpeace USA continued to call

on DNB to exit the DAPL loan.

       162.    Days later, Greenpeace’s Perry Wheeler published “Another Major Norwegian

Investor Divests From Companies Behind Dakota Access Pipeline,” which reported the decision

by the Norwegian firm Odin Fund Management to sell off $23.8 million in investments in

DAPL-related companies. The article applauded Odin but continued to call on DNB to halt

funding for the project as soon as possible. Greenpeace USA also called on other Norwegian

funds, such as KLP and Storebrand, to divest, and implored Citibank to “divest and halt its loan

disbursements immediately.”

       163.    On November 28, 2016, the Enterprise, including Greenpeace USA, wrote a letter

to BBVA, urging BBVA to exit the DAPL loan facility based on false claims about the putative

impact of DAPL on the environmental and cultural and historical resources.

       164.    On November 30, 2016, the Enterprise, including Greenpeace USA, sent identical

letters to the other sixteen banks involved in the $2.5 billion loan for DAPL, including the Bank

of Tokyo Mitsubishi UFJ, BayernLB, BNP Paribas, Citigroup, Wells Fargo, TD Bank Group,

SMBC, Societe Generale, Natixis, Mizuho Bank, Intesa Sanpaolo, ING, ICBC, DNB Norway,

and Credit Agricole, imploring each of these banks to divest and rescind their loans in DAPL




                                                49
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 50 of 76




based on false claims about the putative impact of DAPL on the environment and cultural and

historical resources.

       165.    Also on November 30, 2016, Greenpeace Japan and 350.org Japan, at the

direction of GPI, sent a separate letter to Japanese banks, Mizuho Bank, Sumitomo Mitsui, and

Bank of Tokyo-Mitsubishi UFJ, “strongly demand[ing] that you immediately divest from the

[DAPL].” The letter requested in-person meetings to address the banks’ “loan[s] and lending

policies in the energy sector to safeguard against the risk of investing in projects that contribute

to climate change.”

       166.    In response to the Enterprise’s misinformation campaign, on November 30, 2016,

Citibank affirmed its commitment to fund DAPL, but announced the retention of Foley Hoag

LLP, an independent human rights expert, on behalf of the consortium of banks financing DAPL.

The consortium retained Foley Hoag to review various matters related to the permitting process

including compliance with applicable laws related to consultation with Native Americans and the

policies and procedures employed by Energy Transfer. Over the course of the following four

months, Energy Transfer was called upon to respond to countless requests for information and

in-person interviews in connection with the Foley Hoag investigations, resulting in significant

legal fees and diversion of company resources.

       167.    Greenpeace USA immediately condemned Citibank for its statement that it would

continue to fund the project in an article by Perry Wheeler, “Activists Worldwide Close

Accounts, Demand Citibank Halt and Rescind Dakota Access Pipeline Loans.” Throughout

December, Greenpeace USA continued to disseminate misinformation designed to interfere with

Energy Transfer’s financing relationships, including in December 5 and December 8 articles by




                                                 50
  Case 1:17-cv-00173-BRW-CRH               Document 95         Filed 08/06/18     Page 51 of 76




Mary Sweeters, “3 Things You Need To Know About The Dakota Access Pipeline Win” and

“How Global Solidarity Can Help Ensure The Dakota Access Pipeline Is Never Built.”

       168.    On December 13, 2016, Greenpeace USA’s Perry Wheeler published “After

Visiting Standing Rock, Swedish Bank Nordea Puts Companies Behind DAPL on Watch,”

which reported that Greenpeace had met with Nordea regarding DAPL, and in response to

Greenpeace’s demands Nordea announced that it will “demand guarantees from the companies

building the Dakota Access Pipeline that it will not go through the Standing Rock Sioux Tribe’s

reservation land.”

       169.    The Enterprise, including Greenpeace USA, continued to target the banks with

misinformation through January 2017. In response to this misinformation, during the last week

of January, ING sold $2.2 million of its holdings in Energy Transfer companies.

       170.    On February 2, 2017, in response to the Enterprise’s misinformation and in person

meetings with Greenpeace Netherlands, ABN AMRO threatened to stop financing Energy

Transfer if the project will “be constructed without the consent of the Standing Rock Sioux Tribe

or if further violence will be used.” The Enterprise called on other banks, including ING in the

Netherlands, to follow this example, and cancel their loans.

       171.    On February 7, 2017, Greenpeace USA posted an article, “It’s Time for DAPL

Funders to Decide Which Side of History They Want to Be On,” which purported to put “banks

on notice for their role in supporting a project that violates Indigenous rights and threatens our

climate.”

       172.    The banks caved in response to the Enterprise’s misinformation. On February 8,

2017, following in-person meetings with Greenpeace, Nordea announced that it would exclude

ETP, Sunoco Logistics, and Phillips 66 from all investments.



                                                 51
  Case 1:17-cv-00173-BRW-CRH                  Document 95   Filed 08/06/18      Page 52 of 76




       173.    On February 16, 2017, Greenpeace Switzerland, at the direction of Greenpeace

USA, wrote directly to Credit Suisse’s Chief Risk Officer and Global Head of Public Policy

referencing a meeting with the Credit Suisse Sustainability team on December 8, 2016 and

“numerous calls with the team,” whereby Greenpeace “demand[ed] [ ] for Credit Suisse to

immediately stop banking relationship with [companies related to DAPL].” The letter

admonished Credit Suisse for “actively engag[ing] in new deals with the above mentioned

clients,” including a February 3, 2017 $2.2 billion senior secured term loan agreement led by

Credit Suisse in participation with other banks. The letter demanded a response from Credit

Suisse on or before February 24, 2017.

       174.    In reliance on the Enterprise’s misinformation, on March 1, 2017, Storebrand, a

Norwegian private investment manager, announced that it had sold $34.8 million worth of shares

in Phillips 66, Marathon Petroleum Corporation, and Enbridge.

       175.    Greenpeace’s ubiquitous attack on DAPL and the banks financing the project

continued throughout March. On March 7, 2017 Greenpeace published “Greenpeace Responds

To Court’s Ruling Against Standing Rock,” representing that DAPL was “criminal.” On March

10, 2017, Greenpeace published “In Solidarity, Greenpeace Supports Native Nations March in

D.C.,” which alleged that DAPL will result in “catastrophically altered climate, unbreathable air,

and undrinkable water.”

       176.    Days later, on March 17, 2017, KLP, a Norwegian pension fund, announced its

decision to divest an estimated $68 million from ETP, Phillips 66, Enbridge, and Marathon

Petroleum Corporation.

       177.    On March 21, 2017, ING sold its $120 million share of the $2.5 billion credit

facility, becoming the first bank to do so.



                                                  52
  Case 1:17-cv-00173-BRW-CRH                Document 95        Filed 08/06/18      Page 53 of 76




On March 26, 2017, in response to the Enterprise’s misinformation campaign, DNB sold its

estimated $340 million loan to DAPL. Shortly after, on April 5, 2017, BNP Paribas announced

that it likewise had sold its $120 million loan.

       C.        The Scheme’s Connections To North Dakota

       178.      The Enterprise’s campaign against Energy Transfer has had significant contact

with, and effects in, North Dakota where Energy Transfer has been actively involved in the

construction of 357 miles of DAPL, causing nearly $33 million in damages to North Dakota

taxpayers to pay for state and local responses to the protests and related illegal activities.

       179.      On federal land alone, it took USACE approximately 3 weeks in March and

April 2017, and $1.1 million of taxpayers’ money to pick up after the protesters, who left 835

dumpsters worth of trash and debris in their wake (not including recyclable materials such as

lumber and propane tanks that were also left behind), showing once again that any former

grassroots opposition to DAPL was hijacked by the Enterprise and professional protesters with

no concern for tribal rights or the environment. Indeed, SRST had to begin a major cleanup and

restoration project in January 2017, which required the help of outside sanitation services, just to

prevent snowmelt from washing tens of thousands of pounds of garbage into the Cannonball and

Missouri Rivers, contaminating the very waters the Enterprise falsely claimed it sought to

protect. Along with their garbage, protesters also abandoned at least 12 dogs at the protester

camps, which were later rescued by a Bismarck-Mandan rescue organizations.

       180.      Enterprise members, including Greenpeace Fund, Inc. and Greenpeace, Inc., are

foreign nonprofit corporations registered to do business in North Dakota as charitable

organizations.

       181.      A large portion of the Enterprise’s campaign of disinformation has been directed

at disrupting lawful activity on a specific strip of land on the western bank of the Missouri River
                                                   53
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 54 of 76




just north of the SRST reservation. Indeed, many of the Enterprise’s false statements concerning

DAPL and Energy Transfer are designed, or explicitly followed by pleas, to “stand with Standing

Rock,” and a variety of more specific conduct that falls within that slogan, including sending

money and supplies to protester camps and traveling to Standing Rock to occupy the protester

camps and harass DAPL construction workers and law enforcement, among other illegal anti-

DAPL, anti-Energy Transfer activity.

       182.     Thousands of Energy Transfer employees, contractors, and subcontractors have

worked on the construction of DAPL in North Dakota, and DAPL’s operations in North Dakota

alone are projected to produce upwards of $110 million in annual tax revenue, not to mention the

hundreds of millions of dollars spent in secondary markets in local economies near DAPL

worksites.

       183.     As a result of the Enterprise’s wrongful acts, Energy Transfer has suffered

substantial damage in North Dakota, including costs of delayed construction, unanticipated costs

of professional security services to ward off violent protesters, and costs associated with

combatting the Enterprise’s campaign of disinformation within North Dakota.

       D.      Plaintiffs’ Damages

        184.    The Enterprise’s scheme has inflicted enormous damage on Energy Transfer’s

reputation and business operations. The company has suffered direct monetary damages

including costs arising from damaged equipment, construction sites, and the pipeline itself;

increased security costs; and costs associated with the delays in construction of DAPL, all of

which were the direct and intended consequence of the Enterprise’s campaign. The campaign

has also resulted in damage to Plaintiffs’ reputation and access to capital markets, including

impaired access to financing and increased costs of capital, impairing the company’s ability to



                                                54
   Case 1:17-cv-00173-BRW-CRH                 Document 95         Filed 08/06/18     Page 55 of 76




 finance future infrastructure projects at economical rates. Finally, Plaintiffs incurred substantial

 expenditures to mitigate the direct impact of the slander campaign and other violent protests.

                                         CAUSES OF ACTION

                                                COUNT I

               RACKETEERING IN VIOLATION OF RICO, 18 U.S.C. §§ 1962(c)
                          (AGAINST ALL DEFENDANTS)

        185.        Plaintiffs restate each and every allegation in the foregoing paragraphs as if fully

set forth herein.

        186.        Defendants are persons within the meaning of 18 U.S.C. § 1961(3).

        187.        Beginning no later than July 2016 and continuing through the present (the

“Scheme Period”), Defendants and Enterprise members were associated in fact and comprised an

“enterprise” within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c) willfully and with actual

knowledge of the illegality of their actions and those of the enterprise. The Enterprise is engaged

in, and its activities affect, interstate and foreign commerce.

        188.        The Enterprise has an existence beyond that which is merely necessary to

commit predicate acts and oversaw and coordinated the commission of numerous predicate acts

on an on-going basis in furtherance of the scheme, each of which caused direct harm to

Plaintiffs.

        189.        During the Scheme Period, each of the Defendants agreed to and did conduct and

participate in the affairs of the Enterprise through a pattern of racketeering activity within the

meaning of 18 U.S.C. §§ 1961(1) and (5), and 1962(c).

        190.        The Enterprise’s conduct and acts in furtherance of the fraudulent scheme

included, but were not limited to, the predicate racketeering acts of: (i) mail fraud in violation of

18 U.S.C. § 1341; (ii) wire fraud in violation of 18 U.S.C. § 1343; (iii) drug trafficking in


                                                    55
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 56 of 76




violation of 18 U.S.C. § 1961(1)(D); (iv) money laundering in violation of 18 U.S.C. §§ 1956-

57; (v) interstate and foreign travel in aid of racketeering in violation of 18 U.S.C. § 1952; (vi)

interstate transportation of stolen property in violation of 18 U.S.C. §§ 2314-15; (vii) destruction

of an energy facility in violation of 18 U.S.C. § 1366(a); (viii) destruction of a hazardous liquid

pipeline facility in violation of 18 U.S.C. § 60123(b); (ix) arson and bombing of government

property risking death in violation of 18 U.S.C. § 844(f)(2); (x) arson and bombing of property

used in interstate commerce in violation of 18 U.S.C. § 844(i); (xi) injuring and committing

depredation to federal property in violation of 18 USC § 1361; and which constitute a pattern of

racketeering activity pursuant to § 1961(5).

           a) Patriot Act Violations

       191.     The Enterprise directly incited, directed, funded, trained, and provided supplies

for acts of terrorism in violation of the U.S. Patriot Act, including (i) attempted and actual

destruction of the pipeline; (ii) arson of property used in interstate commerce, including the

pipeline, vehicles, and construction equipment; (iii) arson and bombing of federal property

during violent attacks against law enforcement near DAPL construction sites; and (iv) damaging

federal property, including by burning federal lands and leaving 835 dumpsters of trash and

debris at protest camps.

       192.     John and Jane Does operating as Earth First! provided training and funding for

Red Warrior Camp to infiltrate camps in North Dakota, train protestors in violent tactics, and

lead violent attacks against Energy Transfer personnel and property.

       193.     The Greenpeace Defendants provided training and supplies to members of Red

Warrior Camp and other on-the-ground protesters in North Dakota.

       194.     As intended, on October 27, 2016, a large group of protestors led by Red Warrior

Camp trespassed on federal lands and Dakota Access property, threw Molotov cocktails and
                                                 56
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18    Page 57 of 76




homemade grenades at law enforcement, and set fire to Energy Transfer’s construction

equipment, two bridges and federal land.

       195.     On November 20, 2016, protestors led by Red Warrior Camp attempted to cross

Backwater Bridge in North Dakota to establish an encampment on Dakota Access property.

Armed with weapons, Red Warrior Camp attempted to flank and attack police officers, started

numerous fires on and around the bridge, and threw grenades and flares at law enforcement.

       196.     John and Jane Does operating as Earth First! provided training and manuals to

Mississippi Stand members Jessica Reznicek and Ruby Montoya, who were present at training

events hosted by Earth First!. Following instructions in the Ecodefense manual, Reznicek and

Montoya set fire to construction equipment in November 2016 and May 2017. Between March

2017 and May 2017, Reznicek and Montoya, again following the Ecodefense manual, used an

oxy-acetylene cutting torch to cut holes into the interstate pipeline.

           b) Mail and Wire Fraud

        197.    As set forth herein, beginning no later than July 2016, Greenpeace USA, along

with John and Jane Does operating as Earth First! and other Enterprise members, developed a

scheme to fraudulently and intentionally target Energy Transfer by widely disseminating

misinformation regarding the development, construction, and impacts of DAPL. The purpose

of this scheme was to recruit and incite protestors to travel to North Dakota to establish

encampments, where Greenpeace USA would train thousands of protestors to engage in

unlawful conduct and racketeering activity to halt construction. The Enterprise also

disseminated these claims in furtherance of a scheme to fraudulently interfere with Energy

Tranfer’s business constituencies. Enterprise members, including Greenpeace USA used these

materially false and misleading statements to fraudulently induce donations used, in part, to

fund illegal activities against DAPL and other Energy Transfer infrastructure projects.
                                                 57
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 58 of 76




        198.    At the same time, Greenpeace USA widely and aggressively disseminated these

false and misleading statements directly to Energy Transfer’s creditors, investors, and other

critical market constituencies for the purpose of interfering with Energy Transfer’s contracts.

Greenpeace USA also used the misrepresentations widely disseminated to the public to

fraudulently induce Energy Transfer’s business constituencies to terminate their relationships

with Energy Transfer.

       199.     Defendants used the mails and wires to execute the scheme to defraud. In

furtherance and for the purpose of executing and attempting to execute this scheme and artifice

to harm Energy Transfer through deception of the public, on numerous occasions Defendants

used and caused to be used U.S. mails and wire communications in interstate and foreign

commerce.

       200.     These mail and wire communications were made, inter alia, for the purpose of:

(i) preparing false and misleading reports concerning Energy Transfer and DAPL; (ii) broadly

disseminating the false and defamatory reports and other statements through Greenpeace USA’s

Greenpeace International’s, and other Enterprise members’ website and other internet platforms

such as Twitter and Facebook; (iii) communicating and coordinating with one another to create

and disseminate the false and misleading information necessary to perpetrate the scheme against

Energy Transfer; (iv) disseminating false and misleading allegations directly to Energy

Transfer’s creditors, investors, and other critical market constituencies through email, U.S. mail,

and phone; (v) wiring funds to eco-terrorist groups and individuals to execute attacks against

Energy Transfer equipment and personnel, (vi) perpetrating acts of terrorism under the U.S.

Patriot Act, including destruction of an energy facility, destruction of hazardous liquid pipeline

facility, arson and bombing of government property risking or causing injury or death, arson and



                                                58
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 59 of 76




bombing of property used in interstate commerce, and depredation of government property; and

(vii) wiring funds for drug-trafficking, (viii) wiring fraudulently obtained funds to sustain the

Enterprise’s campaign and fund further racketeering activity against ETE.

       201.       Defendants committed and participated in these acts willfully and with

knowledge of their illegality.

       202.       Each such use of a mail or wire communication and/or mailing in connection

with the described scheme constitutes a separate and distinct violation of the RICO statute, by

virtue of violating the incorporated federal predicate acts proscribed by 18 U.S.C. §§ 1341 and/or

1343, and each causing direct injury to Energy Transfer’s business and reputation. While Energy

Transfer does not have the full knowledge of the extent of the use of the wires and mails by the

Enterprise in furtherance of the scheme, Appendices A and B show some, but not all, of those

violations.

       203.       In addition, the Defendants have transmitted funds from inside the United States

to or through a place outside the United States and to a place in the United States from or

through a place outside the United States with the intent that the funds promote the carrying on

of the Enterprise’s unlawful racketeering activity. Each such transfer constitutes a predicate act.

              c) Drug Trafficking

       204.       In furtherance of the campaign, Red Warrior Camp engaged in an illegal drug

trade by using funds to buy drugs out of state and sell them at the camps at enormous profits,

which funds were used to finance the scheme’s continued operations and line the pockets of its

organizers.

              d) Money Laundering

       205.       In furtherance of the campaign, the Enterprise knowingly engaged in monetary

transactions involving illicit proceeds derived from the illegal campaign against Energy Transfer.

                                                 59
  Case 1:17-cv-00173-BRW-CRH                 Document 95       Filed 08/06/18      Page 60 of 76




The Enterprise deposited, withdrew, transferred, or exchanged funds in or affecting interstate or

foreign commerce to a financial institution. These funds were derived from the Enterprise’s

racketeering activity, including mail and wire fraud, violations of the Patriot Act, and drug

trafficking.

               e) Interstate and Foreign Travel In Aid of Racketeering

        206.       Defendants also travelled in interstate and foreign commerce and used interstate

and foreign commerce facilities with intent to commit or otherwise promote or facilitate the

commission of the predicate acts alleged herein, and the Defendants did commit and promote the

commission of the predicate acts. Each such use of the interstate or foreign commerce facilities

constitutes a predicate act.

               f) Interstate Transportation of Stolen Property

         207.      Defendants also travelled in interstate and foreign commerce with stolen

 property and donations with the intent to commit or otherwise promote or facilitate the

 commission of the predicate acts alleged herein, and the Defendants did commit and promote

 the commission of the predicate acts. Each such use of the interstate or foreign commerce

 facilities constitutes a predicate act.

        208.       Each of the predicate acts referred to in the preceding paragraphs was for the

purpose of executing the Enterprise’s fraudulent scheme, and Defendants and Enterprise

members engaged in such acts with the specific intent of furthering that scheme, willfully and

with knowledge of its falsity. Each of the Defendants performed or participated in the

performance of at least two of the predicate acts.

        209.       The conduct and actions set forth herein were related to each other by virtue of:

(i) common participants; (ii) a common victim; and (iii) the common purpose and common result



                                                   60
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18       Page 61 of 76




of a concerted attack on Plaintiffs’ business practices to fraudulently solicit and maximize

donations and cause harm to Energy Transfer’s business and reputation.

        210.    The Defendants’ activities were interrelated, not isolated, and involved a

calculated series of repeated violations of the law in order to conceal and promote fraudulent

activity. The Enterprise has existed with the current members (and others as yet unknown) since

at least April 2016, the conduct and activities have continued as of the date of this Complaint,

and the Enterprise’s racketeering activities threaten to continue in the future, as evidenced by

Greenpeace Defendants hiring of an employee dedicated to interfering with Energy Transfer’s

infrastructure projects and Earth First! and Greenpeace Defendants’ continued training of

protesters to halt construction of the Mariner East 2 and Bayou Bridge pipelines.

        211.    The Defendants’ direct and indirect participation in the Enterprise’s affairs

through the pattern of racketeering and activity described herein constitutes a violation of 18

U.S.C. § 1962(c).

        212.    As a direct and proximate cause of the Defendants’ violations of 18 U.S.C.

§1962(c), Plaintiffs have sustained damage to their business, property, and reputation, including

injury by reason of the predicate acts constituting the pattern of racketeering activity set forth

above that was not only foreseeable but intended as an objective of the predicate acts. Plaintiffs’

damages include, but are not limited to: business disruption losses and expenses; mitigation

costs, substantial damages to Plaintiffs’ property, brand, goodwill, business reputation, and

standing in the global marketplaces; and the expenditure of substantial resources and

management time to mitigate the damage caused by the Enterprise’s illegal campaign, including

legal fees.




                                                 61
  Case 1:17-cv-00173-BRW-CRH                  Document 95        Filed 08/06/18      Page 62 of 76




        213.        As a result of the violations of 18 U.S.C. § 1962(c), Plaintiffs have suffered

damages in an amount to be proven at trial, but which constitute no less than $300 million.

Plaintiffs are entitled to recover from the Defendants the amount in which they have been

damaged, to be trebled in accordance with 18 U.S.C. § 1964(c), together with interest, costs, and

attorneys’ fees incurred by reason of the Enterprise’s violations of 18 U.S.C. § 1962(c), and

disgorgement of Defendants’ illicit proceeds.

                                               COUNT II

               CONSPIRACY IN VIOLATION OF RICO, 18 U.S.C. § 1962(d)
                         (AGAINST ALL DEFENDANTS)

        214.    Plaintiffs restate each and every allegation in the foregoing paragraphs as if fully

set forth herein.

        215.    During the Scheme Period, each of the Defendants willfully, knowingly and

unlawfully conspired to, and did further the efforts of the Enterprise to perpetrate the scheme

against Energy Transfer through a pattern of racketeering activity in violation of 18 U.S.C. §§

1962(c) and 1962(a).

        216.    In furtherance of the conspiracy and to effectuate its objectives, each of the

Defendants agreed that the following predicate acts, among others, would be committed by one

or more members of the conspiracy: (i) mail fraud in violation of 18 U.S.C. § 1341; (ii) wire

fraud in violation of 18 U.S.C. § 1343; (iii) drug trafficking in violation of 18 U.S.C. §

1961(1)(D); (iv) money laundering in violation of 18 U.S.C. §§ 1956-57; (v) interstate and

foreign travel in aid of racketeering in violation of 18 U.S.C. § 1952; (vi) interstate transportation

of stolen property in violation of 18 U.S.C. §§ 2314-15; (vii) destruction of an energy facility in

violation of 18 U.S.C. § 1366(a); (viii) destruction of a hazardous liquid pipeline facility in

violation of 18 U.S.C. § 60123(b); (ix) arson and bombing of government property risking death


                                                    62
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 63 of 76




in violation of 18 U.S.C. § 844(f)(2); (x) arson and bombing of property used in interstate

commerce in violation of 18 U.S.C. § 844(i); (xi) injuring and committing depredation to federal

property in violation of 18 USC § 1361; and which constitute a pattern of racketeering activity

pursuant to § 1961(5).

        217.   Specifically, the following predicate acts were performed at the direction of,

and/or were foreseeable to, the Defendants, for the purpose of executing the scheme to solicit

fraudulent donations and harm Energy Transfer’s business: (i) preparing false and misleading

reports concerning Energy Transfer and DAPL; (ii) broadly disseminating the false and

defamatory reports and other statements through Greenpeace USA’s Greenpeace International’s,

and other Enterprise members’ website and other internet platforms such as Twitter and

Facebook; (iii) communicating and coordinating with one another to create and disseminate the

false and misleading information necessary to perpetrate the scheme against Energy Transfer;

(iv) wiring funds to eco-terrorist groups and individuals to execute attacks against Energy

Transfer equipment and personnel, (v) perpetrating acts of terrorism under the U.S. Patriot Act,

including destruction of an energy facility, destruction of hazardous liquid pipeline facility, arson

and bombing of government property risking or causing injury or death, arson and bombing of

property used in interstate commerce, and depredation of government property; and (vi) drug-

trafficking.

        218.   It was specifically intended and foreseen by Defendants that the Enterprise would

engage in, and conduct activities which affected interstate commerce. Each Defendant was

aware of the various racketeering schemes, assented to the efforts of the Enterprise to carry out

these acts, and acted in furtherance of the conspiracy.




                                                 63
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 64 of 76




       219.    The pattern of racketeering consisted of multiple acts of racketeering by each of

the Defendants. The activities of these Defendants were interrelated, not isolated, and were

perpetrated for the same or similar purposes by the same persons. These activities in furtherance

of the unlawful campaign against Energy Transfer have extended for at least fourteen months,

have continued up to the commencement of this action, and threaten to continue in the future.

The Defendants’ conduct constitutes a conspiracy to violate 18 U.S.C. §§ 1962(c) and 1962(a),

in violation of 18 U.S.C. § 1962(d).

        220. Plaintiffs have been injured in their business and property as a direct and

proximate cause of the Defendants’ conspiracy to violate 18 U.S.C. §§ 1962(c) and 1962(a), and

the overt acts taken in furtherance of that conspiracy, including injury by reason of the predicate

acts constituting the pattern of racketeering activity set forth above. Plaintiffs have sustained

damage to their business, property, and reputation, including injury by reason of the predicate

acts constituting the pattern of racketeering activity set forth above that was not only

foreseeable but intended as an objective of the predicate acts. Plaintiffs’ damages include, but

are not limited to: business disruption losses and expenses; mitigation costs, substantial

damages to Plaintiffs’ property, brand, goodwill, business reputation, and standing in the global

marketplaces; and the expenditure of substantial resources and management time to mitigate the

damage caused by the Enterprise’s illegal campaign, including legal fees.

       221.    As a result of the violations of 18 U.S.C. § 1962(d), Plaintiffs have suffered

damages in an amount to be proven at trial, but which constitute no less than $300 million.

Plaintiffs are entitled to recover from the Defendants the amount in which they have been

damaged, to be trebled in accordance with 18 U.S.C. § 1964(d), together with interest, costs, and




                                                64
  Case 1:17-cv-00173-BRW-CRH                Document 95        Filed 08/06/18      Page 65 of 76




attorneys’ fees incurred by reason of the Enterprise’s violations of 18 U.S.C. § 1962(c), and

disgorgement of Defendants’ illicit proceeds.

                                            COUNT III

               RACKETEERING IN VIOLATION OF N.D.C.C. § 12.1-06.1-03(2)
                          (AGAINST ALL DEFENDANTS)

        222.    Plaintiffs restate each and every allegation in the foregoing paragraphs as if fully

set forth herein.

        223.    Throughout the Scheme Period, Defendants and enterprise members were

associated in fact and comprised an “enterprise” within the meaning of N.D.C.C. §§ 12.1-06.1-

01(2)(b) and 12.1-06.1-03(2), which was engaged in, or the activities of which affected,

interstate or foreign commerce.

        224.    During the Scheme Period, each of the Defendants willfully, knowingly, and

unlawfully conduct and participate in the efforts of the Enterprise to perpetrate the scheme

against Plaintiffs through a pattern of racketeering activity within the meaning of N.D.C.C. §§

12.1-06.1-01(2)(e) and (f) in violation of N.D.C.C. § 12.1-06.1-03(2).

        225.    The Enterprise’s conduct and acts in furtherance of the fraudulent scheme

included, but were not limited to, the following predicate racketeering acts and attempts to

commit such racketeering acts: (i) fraud in violation of N.D.C.C. § 12.1-06.1-01(2)(f)(15); (ii)

unlawful threats to public servants in violation of N.D.C.C. § 12.1-12-06(2); (iii) willfully

tampering with and damaging Plaintiffs’ property in violation of N.D.C.C. §§ 12.1-21-05(a) and

(b); (iv) terrorizing in violation of N.D.C.C. § 12.1-17-04; (v) inciting riot in violation of

N.D.C.C. § 12.1-25.01; (vi) leading a criminal association in violation of N.D.C.C. § 12.1-06.1-

02; and (vii) conspiring to violate each of the above predicate acts in violation of N.D.C.C. §

12.1-06-04.

                                                  65
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 66 of 76




       226.    Specifically, throughout the Scheme Period, in furtherance of and for the purpose

of executing and attempting to execute the described schemes and artifices to defraud, each of

the Defendants, on numerous occasions, used and caused to be used wire communications in

interstate and foreign commerce and U.S. mails, by both making and causing to be made wire

communications and mailings. These wire communications and mailings were made, inter alia,

for the purpose of: (i) preparing false and misleading reports concerning Energy Transfer and

DAPL; (ii) broadly disseminating the false and defamatory reports and other statements through

Greenpeace USA’s Greenpeace International’s, and other Enterprise members’ website and other

internet platforms such as Twitter and Facebook; (iii) communicating and coordinating with one

another to create and disseminate the false and misleading information necessary to perpetrate

the scheme against Energy Transfer; (iv) disseminating false and misleading allegations directly

to Energy Transfer’s creditors, investors, and other critical market constituencies through email,

U.S. mail, and phone; (v) wiring funds to eco-terrorist groups and individuals to execute attacks

against Energy Transfer equipment and personnel, (vi) perpetrating acts of terrorism under the

U.S. Patriot Act, including destruction of an energy facility, destruction of hazardous liquid

pipeline facility, arson and bombing of government property risking or causing injury or death,

arson and bombing of property used in interstate commerce, and depredation of government

property; and (vi) drug-trafficking.

       227.    These predicate acts were committed for financial gain in furtherance of the

Enterprise’s common purpose, which was to generate increased donations to the Enterprise

members.

       228.    Each such use of a wire communication and/or mailing in connection with the

described scheme constitutes a separate and distinct predicate racketeering act within the



                                                66
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 67 of 76




meaning of N.D.C.C. § 12.1-06.1-01(2)(f), as they were each committed in furtherance of a the

Enterprise’s fraudulent scheme to profit from their unlawful “campaign” against Energy Transfer

and each caused direct injury to Energy Transfer’s business, property, and reputation.

       229.    The Enterprise also disseminated falsehoods about Energy Transfer in numerous

reports and other Energy Transfer-related updates and blog posts on their websites, and by

phone, through electronic mail, U.S. mail, and posts on social media platforms, such as Twitter,

which resulted in direct injury to Plaintiffs. While Energy Transfer does not have the full

knowledge of the extent of the use of the wires and mails by the Enterprise in furtherance of the

scheme, Appendices A and B shows some, but not all, of those violations.

       230.    The Enterprise directly incited and perpetrated acts of violence, including (i)

attempted and actual destruction of the pipeline; (ii) arson of property used in interstate

commerce, including the pipeline, construction equipment, and private and public property; (iii)

arson and bombing of federal property including during attacks on law enforcement; and (iv)

damaging federal property, including by burning federal lands and leaving 835 dumpsters of

trash and debris at protest camps.

       231.    Each of the predicate acts referred to in the preceding paragraphs was for the

purpose of executing the Enterprise’s fraudulent scheme, and Defendants and enterprise

members engaged in such acts with the specific intent of furthering that scheme, willfully and

with knowledge of its falsity. Each of the Defendants performed or participated in the

performance of at least two of the predicate acts.

       232.    The conduct and actions set forth herein were related to each other by virtue of:

(i) common participants; (ii) a common victim; and (iii) the common purpose and common result




                                                 67
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18      Page 68 of 76




of a concerted attack on Plaintiffs’ business practices to fraudulently solicit and maximize

donations and cause harm to Energy Transfer’s business and reputation.

       233.    The Defendants’ activities were interrelated, not isolated, and involved a

calculated series of repeated violations of the law in order to conceal and promote fraudulent

activity. The Enterprise has existed with the current members and others as yet unknown since

at least April 2016, and the conduct and activities have continued as of the date of this

Complaint, and the Enterprise’s racketeering activities threaten to continue in the future.

       234.    The Defendants’ direct and indirect participation in the Enterprise’s affairs

through the pattern of racketeering and activity described herein constitutes a violation of

N.D.C.C. § 12.1-06.1-03(2).

        235. As a direct and proximate cause of the Defendants’ violations of N.D.C.C. § 12.1-

06.1-03(2), Plaintiffs have sustained damage to their business, property, and reputation,

including injury by reason of the predicate acts constituting the pattern of racketeering activity

set forth above that was not only foreseeable but intended and an objective of the predicate acts.

Plaintiffs’ damages include, but are not limited to: damage to their business, property, and

reputation, including injury by reason of the predicate acts constituting the pattern of

racketeering activity set forth above that was not only foreseeable but intended as an objective

of the predicate acts. Plaintiffs’ damages include, but are not limited to: business disruption

losses and expenses; mitigation costs, substantial damages to Plaintiffs’ property, brand,

goodwill, business reputation, and standing in the global marketplaces; and the expenditure of

substantial resources and management time to mitigate the damage caused by the Enterprise’s

illegal campaign, including legal fees.




                                                 68
   Case 1:17-cv-00173-BRW-CRH               Document 95         Filed 08/06/18    Page 69 of 76




        236.    As a result of the violations of N.D.C.C. § 12.1-06.1-03(2), Plaintiffs have

suffered damages in an amount to be proven at trial, but which constitute no less than $300

million. Plaintiffs are entitled to recover from the Defendants the amount in which they have

been damaged, to be trebled in accordance with N.D.C.C. § 12.1-06.1-05(1), together with

interest, costs, and attorneys’ fees incurred by reason of the Enterprise’s violations of N.D.C.C. §

12.1-06.1-03(2), and disgorgement of Defendants’ illicit proceeds.

        237.    Pursuant to N.D.C.C. § 12.1-06.1-05(2), Plaintiffs are also entitled to injunctive

relief to prevent, restrain and remedy the Enterprise’s pattern of racketeering activity and

violations of N.D.C.C. § 12.1-06.1-03(2).

                                            COUNT IV

                          DEFAMATION
 (AGAINST DEFENDANTS GREENPEACE INTERNATIONAL, GREENPEACE INC.,
                       GREENPEACE FUND)

        238.    Plaintiffs restate each and every allegation in the foregoing paragraphs as if fully

set forth herein.

        239.    As set forth herein, Greenpeace Defendants knowingly and intentionally

published false and injurious statements about Energy Transfer, including, among other things,

that:

            (a) DAPL traverses SRST tribal treaty lands;

            (b) DAPL will poison SRST’s water supply;

            (c) DAPL will catastrophically alter the climate;

            (d) DAPL was routed and approved without adequate environmental review or
                consultation with SRST;

            (e) Energy Transfer used excessive and illegal force against peaceful protestors; and

            (f) Energy Transfer intentionally desecrated SRST’s cultural resources.


                                                 69
  Case 1:17-cv-00173-BRW-CRH              Document 95        Filed 08/06/18         Page 70 of 76




       240.     Greenpeace Defendants published these false and misleading statements in many

publications on the internet, on social media platforms such as Twitter, and in direct emails,

letters, and telephone communications and in-person meetings to the public, government

regulators and officials, and Energy Transfer’s creditors, investors, and other critical market

constituents.

       241.     The false and defamatory statements set forth herein concerning Energy Transfer

were made and published with actual malice, as such statements were made by Greenpeace

Defendants with knowledge of their falsity or reckless disregard for their truth.

       242.     Greenpeace Defendants published these falsehoods to third-parties and

understood and intended that these false statements would have the effect of injuring Energy

Transfer’s reputation, preventing others from doing business with Energy Transfer, and

interfering with Energy Transfer’s existing business relationships. Those third-parties include,

among others, Energy Transfer’s creditors, investors, and other critical market constituents, as

well as the general public, government agencies and officials, and other critical market

constituents.

       243.     Greenpeace Defendants’ false statements directly harmed Energy Transfer’s

business, property, and reputation in numerous specific ways, including, but not limited to: lost

financing; lost profits; increased expenses; legal fees; and costs expended to mitigate the impact

of Defendants’ malicious campaign.

       244.     Greenpeace Defendants’ publication of the false and defamatory statements cited

herein have proximately caused Energy Transfer to suffer monetary damages in an amount to be

determined at trial, but which constitute no less than $300 million.




                                                 70
  Case 1:17-cv-00173-BRW-CRH                Document 95        Filed 08/06/18       Page 71 of 76




                                              COUNT V

                              TORTIOUS INTERFERENCE WITH
                                        BUSINESS

 (AGAINST DEFENDANTS GREENPEACE INTERNATIONAL, GREENPEACE INC.,
                       GREENPEACE FUND)

          245.   Plaintiffs restate each and every allegation in the foregoing paragraphs as if fully

set forth herein.

          246.   Energy Transfer had many existing and prospective valid business relationships

with third-parties, including, but not limited to: (i) existing and prospective creditors; (ii) existing

and prospective investors; and (iii) existing and prospective long-term capacity transportation

shippers.

          247.   Each of the Defendants knew of Energy Transfer’s existing and prospective

business relationships with these third-parties.

          248.   Defendants intentionally maliciously interfered with Energy Transfer’s existing

and prospective business relationships with these third-parties by employing wrongful, tortious

and unlawful means, including, but not limited to, the dissemination of false, misleading and

defamatory statements concerning Energy Transfer’s business and DAPL. This interference was

committed intentionally and without justification or excuse and was carried out by, among other

things:

             (a) The publication of false, misleading and defamatory statements in numerous
                 publications on the internet, on social media platforms such as Twitter, and in
                 direct emails, letters, and telephone communications and in-person meetings to
                 Energy Transfer’s creditors, investors, and other critical market constituents,
                 government agencies and regulators and the public at-large.

             (b) Organizing and carrying out “brand-damaging campaigns” against Energy
                 Transfer’s creditors.

             (c) Organizing and carrying out hundreds of protests at Energy Transfer’s
                 headquarters, at banks financing Energy Transfer’s business and its construction

                                                   71
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 72 of 76




               of the DAPL, and at the headquarters of the United States Army Corps of
               Engineers;

           (d) Issuing Energy Transfer’s critical business constituencies extortive public
               demands and threats to sever their ties with Energy Transfer or face crippling
               boycotts and other illegal attacks;

           (e) Inciting and perpetrating acts of terrorism under the U.S. Patriot Act, including
               destruction of an energy facility, destruction of hazardous liquid pipeline facility,
               arson and bombing of government property risking or causing injury or death,
               arson and bombing of property used in interstate commerce, and depredation of
               government property

           (f) Organizing and carrying out cyber-attacks against Energy Transfer; and

           (g) Other overt acts to harm Energy Transfer’s business and reputation.

       249.    Energy Transfer had a reasonable expectation of obtaining the benefits of these

existing and prospective business relationships. Defendants’ wrongful actions directly caused

Energy Transfer to lose the business relationships described herein, thereby causing Energy

Transfer to suffer significant economic damages. Each of the Defendants was aware of, and

intended to cause, this detrimental impact on Energy Transfer’s existing and prospective

business relationships.

       250.    As a direct and proximate result of Defendants’ intentional interference with

Energy Transfer’s existing and prospective business relationships with third-parties, Energy

Transfer’s business relationships were damaged, including but not limited to: (i) existing and

prospective creditors; (ii) existing and prospective investors; and (iii) existing and prospective

long-term capacity transportation shippers.

       251.    The Defendants’ wrongful, tortious, and unlawful interference with Energy

Transfer’s existing and prospective business relationships caused Energy Transfer to suffer

monetary damages, stemming from, among other things, lost financing, increased cost of capital,




                                                 72
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18      Page 73 of 76




increased operating costs, lost revenue, injury to reputation, mitigation costs and attorney’s fees

in an amount to be determined at trial, but which constitute no less than $300 million.

                                            COUNT VII

                                   CRIMINAL TRESPASS
                                (AGAINST ALL DEFENDANTS)

        252.    Plaintiffs restate each and every allegation in the foregoing paragraphs as if fully

set forth herein.

        253.    As set forth above, Defendants willfully entered Energy Transfer’s property

without consent or other privilege.

        254.    Defendants caused and aided and abetted others in willfully entered Energy

Transfer’s property without consent or other privilege.

        255.    Upon willfully entering Energy Transfer’s property without consent or other

privilege, Defendants maliciously and wantonly destroyed property and caused violence and

disorder aimed at harassing and harming Energy Transfer personnel and property, and disrupting

Energy Transfer’s operations.

        256.    Energy Transfer suffered harm and damages in an amount to be proven at trial

due to numerous construction delays as a result of Defendants willfully entering Energy

Transfer’s land without consent or other privilege and maliciously and wantonly causing

violence and disorder aimed at harassing and harming Energy Transfer personnel and property,

and disrupting Energy Transfer’s operations.

        257.    Energy Transfer also suffered harm and damages in an amount to be proven at

trial as a result of Defendants willfully entering Energy Transfer’s land without consent or other

privilege and maliciously and wantonly destroying of property, including but not limited to

construction equipment and materials, fencing and other barrier systems, structures, and the land.


                                                 73
  Case 1:17-cv-00173-BRW-CRH               Document 95        Filed 08/06/18       Page 74 of 76




                                           COUNT VIII

                            COMMON LAW CIVIL CONSPIRACY
                              (AGAINST ALL DEFENDANTS)

        258.    Plaintiffs restate each and every allegation in the foregoing paragraphs as if fully

set forth herein.

        259.    As set forth herein, each of the Defendants, together with others, conspired with

respect to Counts V through VII, and acted in concert to commit unlawful acts. Each of the

Defendants shared the same conspiratorial objective, which was to harm Energy Transfer and

interfere with Energy Transfer’s existing and prospective business relationships in order to

induce fraudulent donations.

        260.    Defendants’ conspiratorial scheme was carried out by the commission of the

wrongful and overt acts set forth above, including:

            (a) The publication of false, misleading and defamatory statements in numerous
                publications on the internet, on social media platforms such as Twitter, and in direct
                emails, letters, and telephone communications and in-person meetings to Energy
                Transfers’ creditors, investors, and other critical market constituents, government
                agencies and regulators and the public at-large;

            (b) Inciting and perpetrating acts of terrorism under the U.S. Patriot Act, including
                destruction of an energy facility, destruction of hazardous liquid pipeline facility,
                arson and bombing of government property risking or causing injury or death,
                arson and bombing of property used in interstate commerce, and depredation of
                government property;

            (c) Other overt acts to harm Energy Transfer’s business and reputation;

            (d) Criminal trespass on Energy Transfer’s property with the intent of harming
                Energy Transfer personnel and property and disrupting construction.

        261.    The false and injurious statements about Energy Transfer created and

disseminated by the defendants included, among others, that:

            (a) DAPL traverses SRST tribal treaty lands;

            (b) DAPL will poison SRST’s water supply;

                                                 74
  Case 1:17-cv-00173-BRW-CRH               Document 95         Filed 08/06/18   Page 75 of 76




           (c) DAPL will catastrophically alter the climate;

           (d) DAPL was routed and approved without consultation with SRST;

           (e) Energy Transfer used excessive and illegal force against peaceful protestors; and

           (f) Energy Transfer intentionally desecrated SRST’s cultural resources.

       262.    At all relevant times, Defendants’ conduct was willful and done with legal malice

and knowledge that it was wrongful.

       263.    As a direct, proximate result of the operation and execution of the conspiracy,

Energy Transfer has been injured and suffered damages in an amount to be proven at trial.

                                 DEMAND FOR JURY TRIAL

       Demand is hereby made for a trial by jury for all issues so triable.

WHEREFORE, Plaintiffs demand judgment:

               (a)     Awarding Plaintiffs compensatory damages in amounts to be determined at

trial, together with interest, attorneys’ fees, costs and disbursements;

               (b)     Awarding Plaintiffs punitive and exemplary damages in amounts to be

determined at trial;

               (c)     Awarding Plaintiffs treble damages, costs of suit, attorney’s fees and costs

of litigation under 18 U.S.C. § 1964(c) and N.D.C.C. § 12.1-06.1-05(1), in amounts to be

determined at trial;

               (d)     Awarding Plaintiffs injunctive relief preventing Defendants from engaging

in continued wrongful activity and disgorgement, as set forth herein, in the form that the Court

may determine is just and proper, and requiring them to disgorge all monies they have improperly

secured;

               (e)     Prejudgment and post-judgment interest; and


                                                 75
 Case 1:17-cv-00173-BRW-CRH            Document 95      Filed 08/06/18      Page 76 of 76




     (f)    Such other and further relief as this Court deems may be just and proper.

      FREDRIKSON BYRON P.A                         KASOWITZ BENSON TORRES LLP




By: Lawrence Bender, ND Bar# 03908           By: Michael J. Bowe (admittedpro hac vice)
                                                   Jenifer S. Recine (admittedpro hac vice)
                                                   Lauren Tabaksblat (admittedpro hac vice)
      1133 College Drive, Suite 1000               1633 Broadway
      Bismarck, ND 58501                           New York, NY 10019
      Telephone : 7 01 .221. 8700                  Telephone: 212.506.17 00
      Fax:701 .221.8750

                                                   Attorneys for Plaintffi Energt Transfer
                                                   Equity, L.P., and Energt Transfer
                                                   Partners, L.P.




                                            76
